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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND



  STATE OF COLORADO, et al.,

                Plaintiffs,

         v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,
                Defendants.




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                           DECLARATION OF DR. SUSAN PHILIP

                I, Susan Philip, declare as follows:

        1.      I am a resident of the State of California. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I received my M.D. from Washington University in St. Louis and trained as a

 resident in Internal Medicine at the University of Chicago. I also have an MPH from the Harvard

 School of Public Health, after which I completed a fellowship in Infectious Diseases at the

 University of California, San Francisco (UCSF). I am an Assistant Clinical Professor of

 Medicine in the Division of Infectious Diseases at UCSF, and have previously been an HIV

 primary care provider at San Francisco City Clinic.

        3.      I am the Health Officer for the City and County of San Francisco (the City), and

 Director of the Population Health Division of the San Francisco Department of Public Health

 (SFDPH). I have worked for SFDPH since 2005 and previously served as a Deputy Health

 Officer and the Director of the Disease Control and Prevention branch in the Population Health

 Division. In that role, I oversaw population level clinical, biomedical, and disease intervention

 efforts to reduce communicable and chronic diseases in San Francisco.

        4.      As the Health Officer, I am charged under California law with taking any

 preventative measure that may be necessary to protect and preserve the public health from any

 public health hazard during a “state of war emergency,” “state of emergency,” or “local

 emergency.” For example, I am responsible for declaring a local health emergency when there is

 a local health hazard, including whenever there is an imminent and proximate threat of the

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 introduction of any contagious, infectious, or communicable disease; overseeing sampling,

 analyzing, or otherwise determining the identifying and other technical information relating to

 the health emergency or local health emergency as necessary to respond to or abate the

 emergency and protect the public health; issuing isolation orders; and taking measures deemed

 necessary to prevent the spread of a contagious, infectious, or communicable disease, even when

 a state of emergency has not been declared. I am also responsible for issuing orders to other

 governmental entities within my jurisdiction to take any action that I deem necessary to control

 the spread of communicable disease.

        5.      The Population Health Division (PHD) is one of several divisions within SFDPH.

 PHD provides expert public health services for the City and County of San Francisco, including

 epidemiology and surveillance, health promotion, disease and injury prevention, disaster

 preparedness and response, and applied research, as well as policy development and

 implementation.

        6.      SFDPH has received notice, either directly or indirectly, about the termination of

 at least four federal grants that had funded SFPDH’s work. On March 25, 2025, PHD received a

 Notice of Award from the U.S. Department of Health and Human Services, Centers for Disease

 Control and Prevention (CDC), terminating PHD’s grant award through the National Initiative to

 Address COVID-19 Health Disparities Among Populations at High-Risk and Underserved,

 Including Racial and Ethnic Minority Populations and Rural Communities (the Disparities

 Grant). On March 26, 2025, CDC notified the California Department of Public Health (CDPH)

 that CDC intended to end funding for three additional grants awarded during the COVID-19

 pandemic, including: (1) Epidemiology Laboratory Capacity (ELC) funds, (2) Immunization and

 Vaccines for Children Program funds, and (3) the Disparities Grant. Based on these categories,



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 we expect CDC to terminate our Immunization Cooperative Agreements funding (Iz CoAg),

 Enhancing Detection funding, and Enhancing Detection Expansion funding.

        7.      The total value of the four terminated awards is $6,535,879.78. Descriptions of

 each award and the effects of these terminations on SFDPH and the residents we serve follow.

        8.      Although these grants initially addressed the COVID-19 pandemic, their scope

 expanded to support our ability to respond to any kind of public health threat. Public health

 programs are historically underfunded and these grants allow us to right-size our responsiveness

 programs.

 Immunization Cooperative Agreements (Iz CoAg)

        9.      The Immunization and Vaccines for Children Program is intended to assist states

 and local health departments to establish and maintain preventive health service programs to

 immunize individuals against vaccine-preventable diseases. During COVID-19, Congress

 appropriated additional funding which was provided to state and local health departments for

 vaccine planning and administration for COVID-19 and other pathogens. This funding supports

 the City’s Immunization Cooperative Agreements grants (Iz CoAg).

        10.     Iz CoAg funds support crucial services and infrastructure to vaccinate San

 Franciscans, prepare and respond to infectious disease outbreaks, and build pandemic

 preparedness and response infrastructure.

        11.     The grant funds critical front-line operations at the SFDPH Adult Immunization

 and Travel Clinic (AITC) and Communicable Disease (CD) Program. Four contract staff

 members are funded through this grant until June 30, 2025.

        12.     Two of the contract staff members at AITC handle patient scheduling,

 registration, and payment. The AITC is a clinic providing both fee-for-service vaccinations and



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 low- or no-cost vaccinations. The clinic plays a key role in front-line services while generating

 revenue to support operations, and provides vaccinations against infectious diseases including

 COVID-19 and influenza. The other two staff members fill public health investigation roles in

 the CD Program, promoting public health and safety through pandemic preparedness. These staff

 members receive and investigate reports of serious communicable disease outbreaks, initiate

 conversations, identify other possible exposures, and evaluate the need for isolation or

 quarantine.

         13.    As a result of the abrupt funding loss, the AITC will have to reduce its patient

 traffic by 50%. The CD Program will also experience a 50% reduction in its front-line staff,

 which means there will be delays in information dissemination and delays in outbreak detection.

         14.    The Iz CoAg funding also supports vaccinator training, development of mobile

 services to provide vaccinations in nonmedical settings, and upgrades in vaccine storage and

 temperature monitoring equipment.

         15.    These combined resources support the development and maintenance of

 operational readiness to deliver any vaccine needed to control a new outbreak. SFDPH’s

 operational infrastructure can support vaccination campaigns targeting a surging or seasonal

 threat—RSV, pertussis, measles, or Hepatitis A, for example—if needed.

         16.    An additional $2,358,672.15 in funds remained committed as of December 31,

 2024.

         17.    After receiving and exhausting its initial grant, the SFDPH received an additional

 three rounds of funding.

         18.    SFDPH relied and acted upon its expectation and understanding that HHS would

 fulfill its commitment to provide Iz CoAg funding.



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 Epidemiology & Laboratory Capacity (ELC) Enhancing Detection (ELC 2)

        19.     In 2020, the CDC invited applications for Epidemiology & Laboratory Capacity

 (ELC) Enhancing Detection (ELC 2) funds.

        20.     ELC funding provides financial support to state and local health departments to

 detect, prevent, and respond to emerging infectious diseases, including COVID-19.

        21.     ELC 2 funding is intended to provide critical resources to local health

 departments in support of a broad range of COVID-19/SARS-CoV-2 testing and epidemiologic

 surveillance related activities and of the public health response to COVID-19 and lay the

 foundation for the future of public health surveillance.

        22.     The first funding term for the grant received by SFDPH, through CDPH, was May

 18, 2020 to November 17, 2022.

        23.     Since May 2020, SFDPH has used the ELC 2 grant funds in a manner fully

 consistent with CDC’s statements regarding the nature of the grant and CDC’s grant application.

        24.     ELC 2 funding maintains SFDPH’s testing capacity for COVID-19, supports the

 City’s communicable disease response, funds rapid respiratory testing, supports the maintenance

 of equipment including data analytic software, supports CDPH’s Cal CONNECT system for

 collecting, managing, and reporting Continuous Integration/Continuous Testing data including

 data management, analysis, and reporting for COVID-19 and other emerging infections and

 conditions of public health significance.

        25.     As of March 24, 2025, the remaining balance of this funding was $245,444.26.

 SFDPH intended to use those funds for core infrastructure such as personnel as well as

 equipment maintenance, reagent supplies, software, and personal protective equipment.




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        26.     SFDPH has been in compliance with the grant conditions since it first received

 ELC 2 funding in May 2020. SFDPH has met every reporting requirement of the grant.

        27.     On March 25, 2025, without any prior notice or indication, CDC informed CDPH

 that its ELC 2 grant was being terminated. A true and correct copy of the CDPH termination

 letter is attached as Exhibit A.

        28.     On information and belief, CDC’s termination letter states the following as the

 basis for terminating its ELC 2 funding: “[T]he end of the pandemic provides cause to terminate

 COVID-related grants and cooperative agreements. These grants and cooperative agreements

 were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that the

 pandemic is over, the grants and cooperative agreements are no longer necessary as their limited

 purpose has run out.”

        29.     SFDPH relied and acted on its expectation and understanding that HHS would

 fulfill its commitment to pay the ELC 2 funding it had awarded to SFDPH. SFDPH was not

 given the opportunity to devise a transition plan. For example, SFPHD has not found funds to

 finance the storage of its vaccines or to find on-the-ground employees to administer vaccines.

        30.     SFDPH is harmed by this loss of funding. The loss of funds disrupts support for

 disease surveillance, public health lab services, outbreak investigations, infection control

 activities at healthcare facilities and data transparency. The loss of funds will further impact the

 City’s ability to provide COVID-19, influenza, and mpox vaccines to children, elderly people,

 and other adults. SFDPH will lose personnel for positions crucial in the prevention of

 communicable diseases. These positions are Microbiologist, Manager III, and Training Officer.

 These employees either provide on-the-ground support in preventing the spread of diseases,




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 spanning from testing for diseases to training staff to do the same, or are supporting necessary

 infrastructure in disease prevention.

        31.        Prior to the grant award termination on March 25, 2025, CDC had never provided

 SFDPH with notice, written or otherwise, that the grant administered by SFDPH was in any way

 unsatisfactory.

 ELC Enhancing Detection Expansion (ELC 3)

        32.        In 2020, the CDC invited applications for ELC Enhancing Detection Expansion

 (ELC 3) funding.

        33.        This funding expands support of testing, case investigation and contact tracing,

 surveillance, containment, mitigation, and several allowable activities under California’s

 guidance.

        34.        Since January 15, 2020, SFDPH has used the ELC 3 grant funds in a manner fully

 consistent with CDC’s statements regarding the nature of the grant and CDC’s grant application.

        35.        SFDPH uses ELC 3 funding to maintain testing capacity for COVID-19; to

 purchase pharmaceutical-grade refrigerators, freezers, temperature data loggers, and

 temperature-controlled transport containers for community based clinics; to support

 communicable disease response and rapid respiratory testing; to expand the City’s lab

 infrastructure to build capacity to stop the spread of communicable diseases; and to expand

 capacity within community-based organizations to train and activate a community-centered,

 culturally and linguistically appropriate response to preventing the spread of communicable

 diseases.

        36.        As of March 24, 2025, the remaining balance of the ELC 3 grant was

 $2,905,666.37. SFDPH is harmed by the loss of ELC 3 funding.



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        37.     SFDPH has adequately performed its duties under the ELC 3 grant. SFDPH met

 all reporting requirements for ELC 3.

        38.     SFDPH’s funding term began January 15, 2021 and went through July 31, 2023.

 SFDPH received three cycles of funding and had been approved through 2026.

        39.     On March 25, 2025, without any prior notice or indication, CDC informed CDPH

 that its ELC 3 grant was being terminated. A true and correct copy of the CDPH termination

 letter is attached as Exhibit A.

        40.     On information and belief, CDC’s termination letter stated the following as the

 basis for terminating its ELC 3 funding: “The end of the pandemic provides cause to terminate

 COVID-related grants and cooperative agreements. These grants and cooperative agreements

 were issued for a limited purpose: to ameliorate the effects of the pandemic. Now that the

 pandemic is over, the grants and cooperative agreements are no longer necessary as their limited

 purpose has run out.”

        41.     SFDPH relied and acted on its expectation and understanding that HHS would

 fulfill its commitment to provide ELC 3 funding it had awarded to SFDPH through the life of the

 grant award.

        42.     The loss of funds disrupts support for disease surveillance, public health lab

 services, outbreak investigations, infection control activities at healthcare facilities, and data

 transparency. SFDPH’s ability to distribute vaccines or administer vaccinations will be hampered

 because without the proper funding it will lose the ability to store vaccines or have staff on the

 ground to administer vaccines which include vaccines for COVID-19 and mpox. To that end,

 SFDPH is hindered in its ability to develop and maintain operational readiness to deliver any

 vaccine needed to control an outbreak of an infectious disease. And the abrupt nature of



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 terminating this grant harms SFDPH, because the SFDPH was deprived of the opportunity to

 make a transition plan.

        43.        Prior to the grant award termination on March 25, 2025, CDC had never provided

 SFDPH with notice, written or otherwise, that the grant administered by CDC was in any way

 unsatisfactory.

        44.        The combined loss of the Iz CoAg, ELC 2, and ELC 3 funding is a major blow to

 SFDPH’s vaccine distribution infrastructure and SFDPH’s ability to nimbly and efficiently

 respond to new outbreaks. Advance preparation is critical to effective response: rapid detection

 and mobilization saves lives, averts uncontrolled spread, and protects healthcare resources for

 those who become seriously ill. If SFDPH cannot promptly identify new infections in the lab,

 deploy personnel to investigate exposures, or store and distribute vaccines, then a new outbreak

 (of any illness) will spread faster and further in the population.

        45.        A delayed, under-resourced response to outbreaks will be less effective and much

 more expensive. More patients will become ill. Wider and faster spread requires more treatment

 and vaccination resources and risks flooding SFDPH and other healthcare providers with

 unmanageable caseloads.

        46.        For example, with the grant funds at issue, PHD is closely monitoring H5N1 (bird

 flu) developments. As currently resourced, PHD has the capacity to monitor specimens closely

 for H5N1, rather than having to rely on individual physicians to notice a possible case and send a

 sample. As a result, SFDPH has already identified a first case of H5N1 in the City. And because

 PHD has Communicable Disease staff available, PHD can deploy them to investigate exposures

 and recommend remedial measures. Without these resources, SFDPH faces serious barriers to

 identifying an outbreak before it spreads.



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        47.     When there is an emerging disease relevant to public health, the PHD Public

 Health Lab is often the first and only laboratory where tests can be run. PHD is also the default

 vaccine supplier for the City in the event of an outbreak. During the mpox outbreak, for example,

 PHD was charged with disbursing the vaccine to the health systems in the City. Our ability to do

 so quickly helped us avoid a large outbreak.

        48.     Losing funding abruptly puts us behind in outbreak readiness, the ability to test

 for diseases, and handling or distributing any type of vaccine. When maintaining a base level of

 emergency preparedness for infectious disease outbreaks, gaps in resourcing can cause missed

 infections, slower responses, inadequate vaccination storage and disbursement capacity, and

 inadequate tracking.

 National Initiative to Address COVID-19 Health Disparities Among Populations at High-
 Risk and Underserved, Including Racial and Ethnic Minority Populations and Rural
 Communities (the Disparities Grant)

        49.     On May 3, 2021, CDC announced the funding opportunity CDC-RFA-OT21-

 2103, titled “National Initiative to Address COVID19 Health Disparities Among Populations at

 High-Risk and Underserved, Including Racial and Ethnic Minority Populations and Rural

 Communities.” A true and correct copy of the grant announcement is attached as Exhibit B.

        50.     The grant opportunity “achieve[s]” the statutory “purposes” of funding “strategies

 to improve testing capabilities and other COVID-19 response activities in populations that are at

 high-risk and underserved, including racial and ethnic minority groups and people living in rural

 communities. Strategies also include those to develop or identify best practices for states and

 public health officials to use for contact tracing.” The grant “provide[s] funding to address

 COVID-19 and advance health equity (e.g., through strategies, interventions, and services that

 consider systemic barriers and potentially discriminatory practices that have put certain groups at



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 higher risk for diseases like COVID-19) in racial and ethnic minority groups and rural

 populations within state, local, US territorial, and freely associated state health jurisdictions.”

 (Ex. B at 2-3).

        51.        SFDPH intended to use the grant to: expand existing and/or develop new

 mitigation and prevention resources and services to reduce COVID-19 related disparities among

 populations at higher risk and that are underserved, increase and improve data collection and

 reporting for populations experiencing a disproportionate burden of COVID-19 infection, severe

 illness, and death to guide the response to the COVID-19 pandemic; and build, leverage, and

 expand infrastructure support for COVID-19 prevention and control among populations that are

 at higher risk and underserved.

        52.        The grant was approved on May 26, 2021, in the amount of $4,669,859.

        53.        SFDPH uses these funds to build capacity to prepare the City for a future

 pandemic by capitalizing on the lessons learned from COVID-19. These activities include:

 building on existing COVID-19 response programs for vulnerable populations and expanding

 support for community-based organizations (CBOs) and community health workers; creating an

 enabling environment for CBOs to thrive in existing SFDPH structures; facilitating health

 systems network integration and coordination; increasing and improving data collection and

 reporting for CBOs and SFDPH programs working with populations experiencing a

 disproportionate burden of health disparities; developing a community-driven indicator utilized

 in the 2024 Community Health Needs Assessment (CHNA); supporting neighborhood and

 community-based infrastructure through neighborhood tours and other efforts; and transforming

 the health system.




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        54.     As of March 24, 2025, there is $1,026,097 remaining on the grant, which was

 intended to fund two staff positions through May 30, 2025, as well as two activities: continued

 funding for an outreach program to strengthen data and reporting, and a new education program

 to improve neighborhood and community infrastructure.

        55.     The first initiative, SF Voices, aims to identify and serve especially marginalized

 communities that are underrepresented in routine public health surveys or SFDPH service

 delivery. These communities may have unique language barriers or be at disproportionately high

 risk for specific health conditions, for example, and messaging technology gave us a tool to

 identify and respond to those challenges. The second initiative, The Shop project, is an effort to

 educate residents about infectious disease prevention (including COVID-19) and the opioid

 epidemic.

        56.     SFDPH submits quarterly reports documenting progress on our objectives and

 performance measures as well as a financial report that captures spending for the relevant time

 period. CDC provides feedback. SFDPH has consistently received positive feedback on its

 reports. At the latest quarterly review, CDC’s feedback stated: “No issued noted; San Francisco

 continues to make significant progress toward its objectives. . . . Drawdown is on pace. Good

 work San Francisco.”

        57.     PHD has received two no-cost extensions, with the latest extending the grant to

 May 30, 2026. On February 21, 2025, PHD submitted a request to contract with GLIDE for The

 Shop. On March 18, 2025, PHD received a Notice of Award from CDC approving GLIDE as a

 contractor.




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        58.     On March 25, 2025, without any prior notice or indication, CDC informed PHD

 that its award was being terminated as of March 24, 2025. A true and correct copy of the grant

 award termination notice is attached as Exhibit C.

        59.     The notice provided the following basis for the termination: “The purpose of this

 amendment is to terminate this award which is funded by COVID-19 supplemental

 appropriations. The termination of this award is for cause. HHS regulations permit termination if

 ‘the non-Federal entity fails to comply with the terms and conditions of the award’, or separately,

 ‘for cause.’ The end of the pandemic provides cause to terminate COVID-related grants and

 cooperative agreements. These grants and cooperative agreements were issued for a limited

 purpose: to ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and

 cooperative agreements are no longer necessary as their limited purpose has run out. Termination

 of this award is effective as of the date set out in your Notice of Award. No additional activities

 can be conducted, and no additional costs may be incurred. Unobligated award balances will be

 de-obligated by CDC.”

        60.     Losing this funding harms SFDPH’s ability to translate the hard-won lessons from

 the COVID-19 pandemic into actionable prevention and capacity-building to mount a more

 efficient, effective response to public health emergencies, including very real threats from

 measles, H5N1, or viruses that could arrive through international visitors. Abrupt termination has

 deprived SFDPH of the opportunity to put appropriate transition measures in place to ensure that

 critical public health infrastructure and services are not disrupted and the public is not made

 vulnerable to harmful and preventable disease threats.

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      I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

               Executed on March 29, 2025, at San Francisco, California




                                              _____________________________________
                                                     Susan Philip, MD, MPH




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                       EXHIBIT B
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                        Centers for Disease Control and Prevention

                     Office for State, Tribal, Local and Territorial Support

  National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
  and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities



                                          05/03/2021
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  Part I. Overview
 Applicants must go to the synopsis page of this announcement at www.grants.gov and click on
 the "Subscribe" button link to ensure they receive notifications of any changes to CDC-RFA-
 OT21-2103. Applicants also must provide an e-mail address to www.grants.gov to receive
 notifications of changes.
  A. Federal Agency Name:
 Centers for Disease Control and Prevention (CDC) / Agency for Toxic Substances and Disease
 Registry (ATSDR)
  B. Notice of Funding Opportunity (NOFO) Title:
 National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
 and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
  C. Announcement Type: New - Type 1:
 This announcement is only for non-research activities supported by CDC. If research is
 proposed, the application will not be considered. For this purpose, research is defined
 at https://www.gpo.gov/fdsys/pkg/CFR-2007-title42-vol1/pdf/CFR-2007-title42-vol1-sec52-
 2.pdf. Guidance on how CDC interprets the definition of research in the context of public health
 can be found at https://www.hhs.gov/ohrp/regulations-and-policy/regulations/45-cfr-
 46/index.html (See section 45 CFR 46.102(d)).
 D. Agency Notice of Funding Opportunity Number:

 E. Assistance Listings Number:
 93.391
 F. Dates:
 1. Due Date for Letter of Intent (LOI):
 03/26/2021

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 2. Due Date for Applications:
 05/03/2021
 11:59 p.m. U.S. Eastern Standard Time, at www.grants.gov.
 3. Due Date for Informational Conference Call:
 CDC will host two informational conference calls for potential applicants:

 Date: 03/30/2021

 Times: 3:00pm to 4:00pm Eastern Standard Time
 and
 6:00pm to 7:00pm Eastern Standard Time

 Meeting Details:
 Join ZoomGov Meeting
 https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

 Meeting ID: 160 4097 6381
 Passcode: OT21-2103
 One tap mobile
 +16692545252,,16040976381#,,,,,,0#,,708148093# US (San Jose)
 +16468287666,,16040976381#,,,,,,0#,,708148093# US (New York)

 Dial by your location
      +1 669 254 5252 US (San Jose)
      +1 646 828 7666 US (New York)
      +1 669 216 1590 US (San Jose)
      +1 551 285 1373 US
 Meeting ID: 160 4097 6381
 Passcode: 708148093
 Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

 Join by SIP
 16040976381@sip.zoomgov.com

 Join by H.323
 161.199.138.10 (US West)
 161.199.136.10 (US East)
 Meeting ID: 160 4097 6381
 Passcode: 708148093
 G. Executive Summary:
 1. Summary Paragraph
 The Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
 Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
 M) provided, in part, funding for strategies to improve testing capabilities and other COVID-19
 response activities in populations that are at high-risk and underserved, including racial and

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 ethnic minority groups and people living in rural communities. Strategies also include those to
 develop or identify best practices for states and public health officials to use for contact tracing.

 To achieve these purposes, the Centers for Disease Control and Prevention (CDC) is announcing
 a non-competitive grant CDC-RFA-OT21-2103 titled “National Initiative to Address COVID-
 19 Health Disparities Among Populations at High-Risk and Underserved, Including Racial and
 Ethnic Minority Populations and Rural Communities.” This grant will provide funding to address
 COVID-19 and advance health equity (e.g., through strategies, interventions, and services that
 consider systemic barriers and potentially discriminatory practices that have put certain groups at
 higher risk for diseases like COVID-19) in racial and ethnic minority groups and rural
 populations within state, local, US territorial, and freely associated state health jurisdictions.
 a. Eligible Applicants:
 Open Competition
 b. Funding Instrument Type:
 G (Grant)
 c. Approximate Number of Awards
 108
 d. Total Period of Performance Funding:
 $ 2,250,000,000
 All funding will be disbursed during year one with a total performance period of two years.
 e. Average One Year Award Amount:
 $0
 Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
       State Health Department: $32,000,000
       Local Health Departments Serving a County or City with a Population of ≥2 Million:
        $26,000,000
       Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $5,000,000
       US Territories and Freely Associated States: $3,000,000
 f. Total Period of Performance Length:
 2
 g. Estimated Award Date:
 June 01, 2021
 h. Cost Sharing and / or Matching Requirements:
 No
 Cost sharing or matching funds are not required for this program. Although no statutory
 matching requirement for this NOFO exists, leveraging other resources and related ongoing
 efforts to promote sustainability is strongly encouraged.
 Part II. Full Text
 A. Funding Opportunity Description


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 1. Background
 a. Overview
 Coronavirus disease 2019 (COVID-19) has disproportionately affected populations placed at
 higher risk and who are medically underserved, including racial and ethnic minority groups, and
 people living in rural communities who are at higher risk of exposure, infection, hospitalization,
 and mortality. Additionally, racial and ethnic minority groups and people living in rural
 communities have disproportionate rates of chronic diseases that increase the severity of
 COVID-19 infection and might experience barriers to accessing testing, treatment, or vaccination
 against the severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2), which causes
 COVID-19.

 To reduce the burden of COVID-19 among populations disproportionately affected, it is
 imperative that state, local, US territorial, and freely associated state health departments (or their
 bona fide agents) work collaboratively and develop partnerships with key partners who have
 existing community or social service delivery programs for African American, Hispanic, Asian
 American, Pacific Islander, Native American or other racial and ethnic minority groups or people
 living in rural communities. Such key partners may include:
       Community-based and civic organizations;
       Tribes, tribal organizations;
       Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
       Asian American and Pacific Islander Serving Institutions (AAPI);
       Faith-based organizations;
       Non-governmental organizations;
       Correctional facilities and institutions;
       Local governmental agencies and community leaders;
       Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
       Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);
       Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);
       Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
       State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
       Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
       Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

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 To reach populations at higher risk, underserved, and disproportionately affected, including
 racial and ethnic minority groups and people living in rural communities, it is critical for funded
 recipients and key partners to implement a coordinated and holistic approach that builds on
 culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-19
 risk. In addition, a coordinated and holistic approach is essential to building and sustaining trust,
 ensuring equitable access to COVID-19 related services, and advancing health equity to address
 COVID-19 related health disparities among populations at higher risk, underserved, and
 disproportionately affected .1
 b. Statutory Authorities
 Section 317(k)(2) of the Public Health Service Act [42 USC 247b(k)(2), as amended] and the
 Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
 Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
 M, Title III).
 c. Healthy People 2030
 This emergency funding opportunity focuses on emergency preparedness and response
 foundational capability and addresses the "Healthy People 2030" focus areas of Preparedness,
 Vaccination, Health Communication, Respiratory Disease, Infectious Disease, Public Health
 Infrastructure, and Social Determinants of Health.

 For specific objectives within these topic areas, please visit www.healthypeople.gov.
 d. Other National Public Health Priorities and Strategies
      Executive Order on Ensuring an Equitable Pandemic Response and Recovery (EO13995)
      Executive Order on Advancing Racial Equity and Support for Underserved Communities
        Through the Federal Government (EO13985)
      National Strategy for the COVID-19 Response and Pandemic Preparedness (see Goal 6)
      CDC COVID-19 Response Health Equity Strategy: Accelerating Progress Towards
        Reducing COVID-19 Disparities and Achieving Health Equity
      Centers for Disease Control and Prevention Coronavirus 2019 (COVID-19)
        Recommendations and Guidance for state, local, territorial and tribal health departments
 e. Relevant Work
 This NOFO is complementary and non-duplicative of the following CDC program activities,
 public health priorities, and strategies:
                                2019 Epidemiology and Laboratory Capacity for Prevention and
        Control of Emerging Infectious Diseases (ELC)
       ELC Enhancing Detection Emerging Issues (E) Project: Funding for the Enhanced
        Detection, Response, Surveillance, and Prevention of COVID-19 - Supplement
                              : Strengthening Public Health Systems and Services Through
        National Partnerships to Improvement and Protect the Nation’s Health
 2. CDC Project Description
 a. Approach
 Bold indicates period of performance outcome.


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 Due to the nature of this grant and public health crisis, there is not a predetermined logic model.
 It is expected that funds from this grant will be used to strengthen public health infrastructure,
 preparedness and response capabilities and services in state, local, US territorial and freely
 associated state health departments (or their bona fide agents) to address COVID-19 related
 health disparities and advance health equity in underserved and disproportionately affected
 populations through testing, contact tracing and other mitigation strategies. All applicants must
 define the populations disproportionately affected by COVID-19 within their respective
 jurisdiction, describe how they will reach these populations, and describe their experience
 working with communities that are underserved and at higher risk for COVID-19 disparities and
 health inequities.

 Recipients will be required to include a financial carve out for rural communities, as applicable.
 As such, applicants who serve rural communities must define these communities and describe
 how they will provide direct support (e.g., funding, programs, or services) to those communities
 in their applications. State government applicants must also engage their State Office of Rural
 Health (SORH) or equivalent, in planning and implementing their activities and describe in their
 application how their SORHs or equivalent will be involved. To that end, CDC recommends
 state government applicants engage their respective SORH or equivalent, early in the application
 process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
 members/nosorh-members-browse-by-state/.

 In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
 partners who have existing community or social service delivery programs for African
 American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
 ethnic minority groups or people living in rural communities. Such key partners may include:
       Community-based and civic organizations;
       Tribes, tribal organizations;
       Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
       Asian American and Pacific Islander Serving Institutions (AAPI);
       Faith-based organizations;
       Non-governmental organizations;
       Correctional facilities and institutions;
       Local governmental agencies and community leaders;
       Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
       Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);
       Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);



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       Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
       State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
       Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
       Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

 Through this collaborative approach, applicants will be better able to maximize the impact of
 their federal COVID-19 funding, strengthen implementation of strategies and activities, and
 align resources to better match the burden of COVID-19 among populations who are at higher
 risk and are underserved. This collaboration must be described in the application.

 Applicants are encouraged to establish new funding relationships with partners and community
 organizations and may also continue funding relationships with partners and community
 organizations that have experience working with communities most affected by COVID-19 and
 have the capacity to implement strategies and activities outlined in this NOFO. To ensure
 resources reach the areas of greatest need, all applicants are strongly encouraged to use local
 epidemiologic, surveillance, and other available data sources to inform local resource allocation
 and program efforts, including program planning, implementation, and evaluation.
 i. Purpose
 Address COVID-19-related health disparities and advance health equity by expanding state,
 local, US territorial and freely associated state health department capacity and services to prevent
 and control COVID-19 infection (or transmission) among populations at higher risk and that are
 underserved, including racial and ethnic minority groups and people living in rural communities.
 ii. Outcomes
 The intended outcomes for this grant are:
    1. Reduced COVID-19-related health disparities.
    2. Improved and increased testing and contact tracing among populations at higher risk and
       that are underserved, including racial and ethnic minority groups and people living in
       rural communities.
    3. Improved state, local, US territorial and freely associated state health department capacity
       and services to prevent and control COVID-19 infection (or transmission) among
       populations at higher risk and that are underserved, including racial and ethnic minority
       groups and people living in rural communities.
 iii. Strategies and Activities
 This grant program will address COVID-19-related health disparities and advance health equity
 by expanding state, local, US territorial and freely associated state health department capacity
 and services to prevent and control COVID-19 infection (or transmission) among populations at
 higher risk and that are underserved, including racial and ethnic minority groups and people
 living in rural communities. All strategies should aim to build infrastructures that both address
 disparities in the current COVID-19 pandemic and set the foundation to address future responses.

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 The program is composed of four overarching strategies:

 1. Expand existing and/or develop new mitigation and prevention resources and services to
 reduce COVID-19 related disparities among populations at higher risk and that are
 underserved: Ensuring equitable access to critical COVID-19 personal protective equipment
 (PPE), testing, contact tracing, quarantine and isolation, vaccination, and other wrap-around
 services require deploying focused strategies, resources, and activities to meet the needs of
 individuals and mitigate the spread of COVID-19 among populations disproportionately
 impacted.
 Priority activities for Strategy 1 should include:
       Expand testing (including home test kits and mobile testing sites) and contact tracing
        among populations at higher risk and that are underserved, including racial and ethnic
        minority populations and people living in rural communities;
 Additional activities may include but are not limited to:
       Vaccine coordination, quarantine and isolation options, and preventive care and disease
        management among populations that are underserved and at higher risk for COVID-19
       Tailor and adapt evidence-based policies, systems, and environmental strategies to
        mitigate social and health inequities related to COVID-19
       Identify and establish collaborations with critical partners affiliated with populations at
        higher risk and that are underserved, including racial and ethnic minority groups at higher
        risk for COVID-19 to:1) connect community members to programs, healthcare providers,
        services and resources (e.g., transportation, housing support, food assistance programs,
        mental health and substance abuse services, substance abuse) they might need and 2)
        lessen adverse effects of mitigation strategies
 2. Increase/improve data collection and reporting for populations experiencing a
 disproportionate burden of COVID-19 infection, severe illness, and death to guide the
 response to the COVID-19 pandemic: Improving data systems and the collection, analysis, and
 use of racial, ethnic, and rural health data for COVID-19 prevention and control will help to
 better identify populations and communities disproportionately affected, track resource
 distribution, and evaluate the effectiveness of advancing health equity to address COVID-19-
 related health disparities among disproportionately affected populations. Collection of data that
 contextualize racial, ethnic, and rural health data and robust analysis of these data are
 fundamental activities for improving data collection and reporting.

 Priority activities for Strategy 2 should include:
       Improve data collection and reporting for testing and contact tracing for populations at
        higher risk and that are underserved;
 Additional activities may include but are not limited to:
       Build on plans for collecting and reporting timely, complete, representative, and relevant
        data on testing, incidence, vaccination, and severe outcomes by detailed race and
        ethnicity categories, taking into account age and sex differences between groups

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       Develop strategies to educate providers, community partners, and programs on: 1) the
        importance of the race and ethnicity data and appropriate strategies to collect it: 2) how to
        address mistrust/hesitancy about reporting personal information including race and
        ethnicity, and 3) why this information is important to prevent and control the spread of
        COVID-19
       Develop and implement plans to disseminate health equity-related data and related
        materials tailored to be culturally and linguistically responsive for diverse audiences
       Develop key principles and resources for collecting, analyzing, reporting, and
        disseminating health equity-related data to inform action during a public health
        emergency
       Assure adequate resources for data infrastructure and workforce to ensure alignment with
        data modernization
 3. Build, leverage, and expand infrastructure support for COVID-19 prevention and control
 among populations that are at higher risk and underserved: Sufficient workforce,
 infrastructure, and capacity are critical to providing equitable access to disproportionately
 affected populations. Where feasible, this short-term program will build, leverage, and expand
 the infrastructure and capacity within state, local, US territorial and freely associated state health
 departments (or their bona fide agents) to ensure and expand equitable access to critical COVID-
 19 testing and contact tracing, as well as PPE, quarantine and isolation, vaccination, and other
 wrap-around and supportive services.
 Priority activities for Strategy 3 should include:
       Expand the infrastructure to improve testing and contact tracing among populations at
        higher risk and that are underserved, including racial and ethnic minority populations and
        rural communities;
 Additional activities may include but are not limited to:
       Establish, enhance, or implement leadership-level health equity offices, workgroups, task
        forces, or positions to guide addressing COVID-19 among communities at higher risk
        and that are underserved
       Convene and facilitate multi-sector coalitions or advisory groups that include members of
        underserved communities and organizations that serve the community. These groups may
        provide advice, guidance, and recommendations for addressing COVID-19 and
        advancing health equity among their communities
       Update jurisdictions’ COVID-19 plans and health equity plans to support communities
        most at risk for COVID-19 with the intention of setting up systems that put in place
        infrastructures and plans that can also support future emergency responses
       Build and expand an inclusive public health workforce, including hiring people from the
        community (e.g., community health workers, social workers, other trusted community
        members) who are equipped to assess and address the needs of communities
        disproportionately affected by COVID-19
  4. Mobilize partners and collaborators to advance health equity and address social
 determinants of health as they relate to COVID-19 health disparities among populations at
 higher risk and that are underserved: Identifying and addressing current gaps and factors that
 influence COVID-19-related health disparities requires a collaborative approach. Under this

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 strategy, collaborations between the primary applicant and key partners will broadly address
 health disparities and inequities related to COVID-19. (Please refer to Approach section of
 NOFO for a list of recommended key partners.)
 Priority activities for Strategy 4 should include:
       Build community capacity to reach disproportionately affected populations with effective
        culturally and linguistically tailored programs and practices for testing and contact
        tracing, and quarantine, including racial and ethnic minority populations and rural
        communities;
 Additional activities may include but are not limited to:
       Build and implement cross-sectoral partnerships to align public health, healthcare, and
        non-health (e.g., housing, transportation, social service) interventions that decrease risk
        for COVID-19
       Develop mechanisms such as community advisory groups that include leaders
        representing racial and ethnic minority groups and rural community leaders and members
        representing underserved populations to inform COVID-19 and future emergency
        response activities
       Develop and disseminate culturally and linguistically responsive COVID-19 prevention
        communications through various channels (e.g., local media, local or community
        newspapers, radio, TV, trusted communications agents) written in plain language and in
        formats and languages suitable for diverse audiences—including people with disabilities,
        limited English proficiency, etc.—addressing and, as necessary, dispelling of
        misinformation and barriers to mitigation practices due to mistrust.
       Build community capacity that includes traditional organizations (e.g., public health,
        healthcare) and non-traditional partners (e.g., community health workers, churches,
        transportation providers, social workers) to reach disproportionately affected populations
        with effective culturally and linguistically tailored programs and practices for testing,
        contact tracing, isolating, vaccination, and healthcare strategies
       Identify and establish collaborations with critical partners affiliated with and who provide
        services to populations that are underserved and at higher risk for COVID-19 to
        disseminate scientifically accurate, culturally, and linguistically responsive information
        and facilitate access to health-related services

 Applicants are not required to implement all four strategies, but rather they should select the
 strategies and activities that best address their jurisdiction’s respective priorities and needs.
 Strategies should engage representatives of populations and communities to be served by this
 NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
 those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
 activity should include the rationale for the approach or a brief justification with evidence
 showing why it should be included. Applicants should not propose to allocate all funding to one
 activity (e.g. all funding will be used for one vaccination or testing event only).
 1. Collaborations
 a. With other CDC programs and CDC-funded organizations:


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 Recipients are encouraged to collaborate, as appropriate, with CDC programs and centers,
 institutes, and offices (CIOs) to ensure that activities and funding are coordinated with,
 complementary of, and not duplicative of efforts supported under other CDC programs that
 support COVID-19 response.

 To facilitate the identification and sharing of best practices, program evaluation, training, tool
 development, and communications of findings, recipients may receive tailored technical
 assistance from select national or regional partner organizations funded through CDC-RFA-
 OT18-1802: Strengthening Public Health Systems and Services through National Partnerships to
 Improvement and Protect the Nation’s Health.

 For questions about collaborating with CDC, please contact the CDC point of contact for this
 NOFO.
 b. With organizations not funded by CDC:
 It is a requirement of this opportunity to include a financial carve out for rural communities, as
 applicable. As such, applicants who serve rural communities must define these communities and
 describe how they will provide direct support (e.g., funding, programs and/or services) to those
 communities. State government applicants must also engage their State Office of Rural Health
 (SORH) or equivalent, in planning and implementing their activities and describe in their
 application how their SORHs or equivalent will be involved. To that end, CDC recommends
 state government applicants engage their respective SORH or equivalent, early in the application
 process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
 members/nosorh-members-browse-by-state/.

 In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
 partners who have existing community or social service delivery programs for African
 American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
 ethnic minority groups or people living in rural communities. Such key partners may include:
       Community-based and civic organizations;
       Tribes, tribal organizations;
       Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
       Asian American and Pacific Islander Serving Institutions (AAPI);
       Faith-based organizations;
       Non-governmental organizations;
       Correctional facilities and institutions;
       Local governmental agencies and community leaders;
       Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
       Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);

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       Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);
       Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
       State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
       Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
       Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

 Through this collaborative approach, applicants will be better able to maximize the impact of
 their federal COVID-19 funding, strengthen implementation of strategies and activities, and
 align resources to better match the burden of COVID-19 among populations who are at higher
 risk and are underserved. This collaboration must be described in the application.

 Applicants are encouraged to establish new funding relationships with partners and community
 organizations and may also continue funding relationships with partners and community
 organizations that have experience working with communities most affected by COVID-19 and
 have the capacity to implement strategies and activities outlined in this NOFO. To ensure
 resources reach the areas of greatest need, all applicants are strongly encouraged to use local
 epidemiologic, surveillance, and other available data sources to inform local resource allocation
 and program efforts, including program planning, implementation, and evaluation.

 Memoranda of understanding (MOUs) or memoranda of agreement (MOAs) are encouraged, but
 not required.
 2. Target Populations
 This NOFO relates specifically to populations that have been placed at higher risk and are
 underserved, which, depending on the needs and priorities of the applicant, may include African
 American, Latino, and Indigenous and Native American people, Asian Americans and Pacific
 Islanders, and other people of color; members of religious minorities; lesbian, gay, bisexual,
 transgender, and queer (LGBTQ+) people; people with disabilities; people who live in rural
 communities; people over the age of 65, and people otherwise adversely affected by persistent
 poverty or inequality.

 Recipients are required to define and describe their respective population(s) of focus and
 describe how they will provide direct support (e.g., funding, services, or programs) to those
 communities within their application. Please include in the description the number of those you
 will serve broken out by applicable geographic area and/or community.

 Recipients are also encouraged to include members of the populations and communities to be
 served in the planning, implementation, and evaluation of program activities.
 a. Health Disparities


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 Evidence shows that COVID-19-related health disparities are inextricably linked to complex and
 widespread health and social inequities that have put many people from populations that are
 underserved —including racial and ethnic minority groups and people living in rural
 communities—at higher risk of exposure, infection, hospitalization, and mortality from COVID-
 19.2, 3, 4 Health equity requires striving for the highest possible standard of health for all people,
 giving special attention to the needs of those at greatest risk of poor health, based on social
 conditions.

 The intent of this funding opportunity is to address COVID-19-related health disparities and
 advance health equity by expanding state, local, US territorial and freely associated state health
 department capacity and services to prevent and control COVID-19 infection (or transmission)
 among populations at higher risk and that are underserved, including racial and ethnic minority
 groups and people living in rural communities.

 To reduce the burden of COVID-19 among disproportionately affected populations applicants
 are strongly encouraged to develop partnerships and collaborate with key partners who have
 existing community or social service delivery programs for African American, Hispanic, Asian
 American, Pacific Islander, Native American or other racial and ethnic minority groups or people
 living in rural communities. Such key partners may include:
       Community-based and civic organizations;
       Tribes, tribal organizations;
       Academic institutions, and universities (e.g., minority serving institutions – Historically
        Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
        Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
        Colleges and Universities (TCUs);
       Asian American and Pacific Islander Serving Institutions (AAPI);
       Faith-based organizations;
       Non-governmental organizations;
       Correctional facilities and institutions;
       Local governmental agencies and community leaders;
       Local businesses and business community networks and organizations, (e.g., employers,
        local chambers of commerce, small business community groups);
       Social services providers and organizations, including those that address social
        determinants of health (e.g., community transportation; anti-discrimination organizations;
        legal services);
       Health care providers, including community health centers (e.g., federally qualified
        health centers, (FQHCs);
       Health-related organizations, (e.g., pharmacies, testing centers, community health
        workers);
       State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
        (SRHAs);
       Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and



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       Governmental organizations focused on non-health services (e.g., Coordinating Council
        on Access and Mobility – Department of Transportation, Supportive housing for the
        elderly – Housing and Urban Development).

 To reach populations at higher risk, underserved, and disproportionately affected—including
 racial and ethnic minority groups, and people living in rural communities—it is critical for
 funded recipients and key partners to implement a coordinated and holistic approach that builds
 on culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-
 19 risk. In addition, a coordinated and holistic approach is essential to build and sustain trust,
 ensure equitable access to COVID-19-related services, and advance health equity to address
 COVID-19-related health disparities among populations at higher risk, underserved, and
 disproportionately affected.
 iv. Funding Strategy
 The funding strategy will consist of three components aimed at decreasing health disparities. The
 components are defined by type of jurisdiction. The amount of funds available for each
 component are based on the overall population size for each type of jurisdiction. Funds will be
 awarded for each component using a separate formula that is: a) consistent with the intent of the
 legislation and purposes of the grant, and b) appropriate for the eligible recipients. The three
 jurisdiction-specific components include:
    1. State, City and County Jurisdictions: Approximately 80% of total available funding will
       be awarded to all states and eligible cities and counties based on COVID-19 social and
       structural determinants, as defined by the COVID-19 Community Vulnerability Index
       (CCVI).
    2. Rural Jurisdictions: Approximately 19% of total available funding will be awarded to
       states with rural populations, as defined by the Health Resources and Services
       Administration (HRSA) Federal Office of Rural Health Policy (FORHP) definition of
       rural. All state recipients will receive a portion of the rural funding available. Each
       recipient’s share will be based on the size of the rural population within the recipient’s
       jurisdiction. These funds will be distributed to state recipients in combination with the
       first Component (i.e., the CCVI allotment, in a single award.)
    3. US Territorial and Freely Associated State Jurisdictions: Approximately 1% of total
       available funds will be awarded to US territories and freely associated states. Each US
       territorial and freely associated state recipient will receive base funding ($500,000), plus
       a population-based allotment that has been adjusted for COVID-19 burden. The COVID-
       19 burden adjustment will be based on the cumulative number of cases and deaths (per
       100,000) for each US territory and freely associated state.

 Please see Attachment A: OT21-2103 List of Eligible Applicants for a complete list of eligible
 applicants.
 b. Evaluation and Performance Measurement
 i. CDC Evaluation and Performance Measurement Strategy
 Performance measures will be finalized and provided to recipients within approximately 45 days
 of award.

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 CDC will use recipients’ financial and progress reporting data to address evaluation questions
 relating to use of funds and results associated with the grant. CDC will collect this information
 quarterly through the end of the period of performance utilizing standardize templates. Quarterly
 expenditure and progress reports will be submitted via the Research Electronic Data Capture, or
 otherwise known as REDCap. CDC will provide training and technical assistance for recipients
 on REDCap post-award.

 Given the flexible nature of this grant and diversity of allowable activities, a Data Management
 Plan (DMP) is not required unless a recipient chooses to allocate funding to a COVID-19
 activity that involves the collection, generation, or analysis of data. The DMP may be submitted
 as a checklist, paragraph, or other format. To help guide applicants in developing a DMP, a
 sample plan is provided via the following link:
 http://www.icpsr.umich.edu/icpsrweb/content/datamanagement/dmp/plan.html

 As a result of the declared public health emergency (PHE), COVID-19, CDC’s COVID-19
 related data collections currently fall under a PHE Paperwork Reduction Act (PRA) Waiver as
 part of the 21st Century Cures Act. PRA requirements for most information collection activities
 that support the investigation of, and response to the COVID-19 pandemic, that would normally
 require submission of a PRA package, can be waived. If information collection activities
 continue beyond the period of the declared public health emergency or beyond the termination
 PHE PRA Waiver, all collections will become subject to requirements of the PRA. Awardees
 will receive additional guidance from CDC on how to address these PRA requirements.
 ii. Applicant Evaluation and Performance Measurement Plan
 Applicants must provide an evaluation and performance measurement plan that demonstrates
 how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
 Measurement and Project Description sections of this NOFO. At a minimum, the plan must
 describe:
       How the applicant will collect the performance measures, respond to the evaluation
        questions, and use evaluation findings for continuous program quality improvement.
       How key program partners will participate in the evaluation and performance
        measurement planning processes.
       Available data sources, feasibility of collecting appropriate evaluation and performance
        data, and other relevant data information (e.g., performance measures proposed by the
        applicant)
       Plans for updating the Data Management Plan (DMP) as new pertinent information
        becomes available. If applicable, throughout the lifecycle of the project. Updates to
        DMP should be provided in annual progress reports. The DMP should provide a
        description of the data that will be produced using these NOFO funds; access to data;
        data standards ensuring released data have documentation describing methods of
        collection, what the data represent, and data limitations; and archival and long-term data
        preservation plans. For more information about CDC’s policy on the DMP,
        see https://www.cdc.gov/grants/additionalrequirements/ar-25.html.


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 Where the applicant chooses to, or is expected to, take on specific evaluation studies, the
 applicant should be directed to:
       Describe the type of evaluations (i.e., process, outcome, or both).
       Describe key evaluation questions to be addressed by these evaluations.
       Describe other information (e.g., measures, data sources).
 Recipients will be required to submit a more detailed Evaluation and Performance Measurement
 plan, including a DMP, if applicable, within the first 6 months of award, as described in the
 Reporting Section of this NOFO.
 Due to the nature of this grant and public health crisis, applicants are not required to provide an
 Evaluation and Performance Measurement plan with their application. Recipients are strongly
 encouraged to use evaluation and performance measurement data at the local level to monitor,
 evaluate, and continuously improve program performance. CDC will finalize and provide
 performance measures within approximately 45 days of award. Recipients will be required to
 report quarterly on CDC defined performance measures and participate in CDC evaluation and
 performance management activities. Evaluation reports will be made available to the public.
 c. Organizational Capacity of Recipients to Implement the Approach
 Applicants must demonstrate the organizational capacity needed to carry out and coordinate
 strategies to advance health equity and address COVID-19-related health disparities for
 populations at higher risk and that are underserved, including racial and ethnic minority groups
 and people living in rural communities.

 Applicants must also demonstrate the capacity to collaborate with their State Offices of Rural
 Health (SORH) or equivalent, if applicable, and with key partners with community or social
 service delivery programs for African American, Hispanic, Asian American, Pacific Islander,
 Native American or other racial and ethnic minority groups or people living in rural
 communities. Please refer to Approach section of NOFO for a list of recommended key partners.

 Acceptable documentation includes, but is not limited to, a signed letter by the health department
 leader or their designees on organization letterhead explaining the existing capacity and
 capability; departmental organizational charts; an incident management structure organizational
 chart; and resumes or CVs for key personnel positions that are currently filled ( include position
 descriptions for vacant positions). Applicant must name this file “Organizational Capacity” and
 upload it as a PDF to www.grants.gov.
 d. Work Plan
 Applicants must develop and submit a high-level work plan for the 2-year period of
 performance. The work plan must align with the strategies and activities outlined in the NOFO.
 Specifically, activities must align to one or more of the following strategies:
       Strategy 1:Expand existing and/or develop new mitigation and prevention resources and
        services to reduce COVID-19 related disparities among populations at higher risk and
        that are underserved



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       Strategy 2: Increase/improve data collection and reporting for populations experiencing
        a disproportionate burden of COVID-19 infection, severe illness, and death to guide the
        response to the COVID-19 pandemic
       Strategy 3: Build, leverage, and expand infrastructure support for COVID-19 prevention
        and control among populations that are at higher risk and underserved
       Strategy 4: Mobilize partners and collaborators to advance health equity and address
        social determinants of health as they relate to COVID-19 health disparities among
        populations at higher risk and that are underserved
 Applicants are not required to implement all four strategies, but rather they should select the
 strategies and activities that best address their jurisdiction’s respective priorities and needs.
 Strategies should engage representatives of populations and communities to be served by this
 NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
 those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
 activity should include the rationale for the approach or a brief justification with evidence
 showing why it should be included. Applicants should not propose to allocate all funding to one
 activity (e.g. all funding will be used for one vaccination or testing event only).

 Applicants must use the template provided as Attachment B: CDC-RFA-OT21-2103 Work Plan
 Template. Applicant must name this file “[Name of Jurisdiction] Work Plan” and upload it as an
 attachment to www.grants.gov.
 e. CDC Monitoring and Accountability Approach
 Monitoring activities include routine and ongoing communication between CDC and recipients,
 site visits, and recipient reporting (including work plans, performance, and financial reporting).
 Consistent with applicable grants regulations and policies, CDC expects the following to be
 included in post-award monitoring for grants and cooperative agreements:
       Tracking recipient progress in achieving the desired outcomes.
       Ensuring the adequacy of recipient systems that underlie and generate data reports.
       Creating an environment that fosters integrity in program performance and results.
 Monitoring may also include the following activities deemed necessary to monitor the award:
       Ensuring that work plans are feasible based on the budget and consistent with the intent
        of the award.
       Ensuring that recipients are performing at a sufficient level to achieve outcomes
        within stated timeframes.
       Working with recipients on adjusting the work plan based on achievement of
        outcomes, evaluation results and changing budgets.
       Monitoring performance measures (both programmatic and financial) to assure
        satisfactory performance levels.
 Monitoring and reporting activities that assist grants management staff (e.g., grants management
 officers and specialists, and project officers) in the identification, notification, and management
 of high-risk recipients.

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 CDC will collect recipient financial and progress reporting data quarterly through the end of the
 period of performance.

 CDC will also conduct a virtual compliance visit after six months, but before the end of the first
 year, from date of the award. The virtual compliance visit will be a telephone call and/or video
 conference to ensure the recipient’s compliance with using the funding for the approved
 activities and to identify technical assistance needs. CDC may conduct additional in-person site
 or virtual visits as needed to best facilitate grants management and oversight duties.
 B. Award Information
 1. Funding Instrument Type:
 G (Grant)

 2. Award Mechanism:



 3. Fiscal Year:
 2021
 4. Approximate Total Fiscal Year Funding:
 $ 2,250,000,000

 5. Total Period of Performance Funding:
 $ 2,250,000,000
 This amount is subject to the availability of funds.
 All funding will be disbursed during year one with a total performance period of two years.
 Estimated Total Funding:
 $ 2,250,000,000
 6. Total Period of Performance Length:
 2
 year(s)
 7. Expected Number of Awards:
 108
 8. Approximate Average Award:

 $0
 Per Project Period
 Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
       State Health Department: $32,000,000
       Local Health Departments Serving a County or City with a Population of ≥2 Million:
        $26,000,000


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       Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $5,000,000
       US Territories and Freely Associated States: $3,000,000
 9. Award Ceiling:
 $ 50,000,000
 Per Project Period
 This amount is subject to the availability of funds.
 Funding will vary by jurisdiction category. Award Ceiling by applicant type:
       State Health Department: $50,000,000
       Local Health Departments Serving a County or City with a Population of ≥2 Million:
        $35,000,000
       Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $9,000,000
       US Territories and Freely Associated States: $10,000,000
 10. Award Floor:
 $ 500,000
 Per Project Period
 Funding will vary by jurisdiction category. Award Floor by applicant type:
       State Health Department: $17,000,000
       Local Health Departments Serving a County or City with a Population of ≥2 Million:
        $17,000,000
       Local Health Departments Serving a City with a Population of 400,000 or more, but less
        than 2 Million: $2,000,000
       US Territories and Freely Associated States: $500,000
 11. Estimated Award Date:
 June 01, 2021

 12. Budget Period Length:
 24 month(s)
 Throughout the project period, CDC will continue the award based on the availability of funds,
 the evidence of satisfactory progress by the recipient (as documented in required reports), and
 the determination that continued funding is in the best interest of the federal government. The
 total number of years for which federal support has been approved (project period) will be shown
 in the “Notice of Award.” This information does not constitute a commitment by the federal
 government to fund the entire period. The total period of performance comprises the initial
 competitive segment and any subsequent non-competitive continuation award(s).


 13. Direct Assistance

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 Direct Assistance (DA) is not available through this NOFO.
 If you are successful and receive a Notice of Award, in accepting the award, you agree that the
 award and any activities thereunder are subject to all provisions of 45 CFR part 75, currently in
 effect or implemented during the period of the award, other Department regulations and policies
 in effect at the time of the award, and applicable statutory provisions.
 C. Eligibility Information
 1. Eligible Applicants
 Eligibility Category:
 00 (State governments)
 01 (County governments)
 02 (City or township governments)
 04 (Special district governments)
 25 (Others (see text field entitled "Additional Information on Eligibility" for clarification))
 Additional Eligibility Category:
 Government Organizations:
 State governments or their bona fide agents (includes the District of Columbia)
 Local governments or their bona fide agents
 Territorial governments or their bona fide agents in the Commonwealth of Puerto Rico, the
 Virgin Islands, the Commonwealth of the Northern Marianna Islands, American Samoa, Guam,
 the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic of
 Palau
 2. Additional Information on Eligibility
 Awards must be made to state, District of Columbia, local, US territorial, and/or freely
 associated state health departments (or their bona fide agents). Local (health departments)
 governments or their bona fide agents are eligible if they:
       Serve a county population of 2,000,000 or more; or serve a city population of 400,000 or
        more. Population for county and city jurisdictions are based on the following US Census
        2019 resources:
            City and Town Population Totals: 2010-2019 (census.gov) U.S. Census -- Annual
               Estimates of the Resident Population for Incorporated Places of 50,000 or More,
               Ranked by July 1, 2019 Population: April 1, 2010 to July 1, 2019
            County Population Totals: 2010-2019 (census.gov)- US Census – Annual
               Estimates for 2019
 Bona fide agents are eligible to apply. For more information about bona fide agents, please see
 the CDC webpage on Expediting the Federal Grant Process with an Administrative Partner
 located at https://www.cdc.gov/publichealthgateway/grantsfunding/expediting.html#Q2



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 3. Justification for Less than Maximum Competition
 N/A
 4. Cost Sharing or Matching
  Cost Sharing / Matching Requirement:
 No
 Cost sharing or matching funds are not required for this program. Although no statutory
 matching requirement for this NOFO exists, leveraging other resources and related ongoing
 efforts to promote sustainability is strongly encouraged.
 5. Maintenance of Effort
 Maintenance of effort is not required for this program.
 D. Application and Submission Information
 1. Required Registrations
 An organization must be registered at the three following locations before it can submit an
 application for funding at www.grants.gov.

 a. Data Universal Numbering System:
 All applicant organizations must obtain a Data Universal Numbering System (DUNS) number. A
 DUNS number is a unique nine-digit identification number provided by Dun & Bradstreet
 (D&B). It will be used as the Universal Identifier when applying for federal awards or
 cooperative agreements.
 The applicant organization may request a DUNS number by telephone at 1-866-705-5711 (toll
 free) or internet at http:// fedgov.dnb. com/ webform/ displayHomePage.do. The DUNS number
 will be provided at no charge.
 If funds are awarded to an applicant organization that includes sub-recipients, those sub-
 recipients must provide their DUNS numbers before accepting any funds.

 b. System for Award Management (SAM):
 The SAM is the primary registrant database for the federal government and the repository into
 which an entity must submit information required to conduct business as a recipient. All
 applicant organizations must register with SAM, and will be assigned a SAM number. All
 information relevant to the SAM number must be current at all times during which the applicant
 has an application under consideration for funding by CDC. If an award is made, the SAM
 information must be maintained until a final financial report is submitted or the final payment is
 received, whichever is later. The SAM registration process can require 10 or more business days,
 and registration must be renewed annually. Additional information about registration procedures
 may be found at https://www.sam.gov/SAM/.

 c. Grants.gov:
 The first step in submitting an application online is registering your organization
 at www.grants.gov, the official HHS E-grant Web site. Registration information is located at the
 "Applicant Registration" option at www.grants.gov.
 All applicant organizations must register at www.grants.gov. The one-time registration process
 usually takes not more than five days to complete. Applicants should start the registration

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 process as early as possible.

 Step
        System       Requirements                      Duration                  Follow Up

                     1. Click on http://
                                                                                 To confirm that
                     fedgov.dnb.com/ webform
                                                                                 you have been
                     2. Select Begin DUNS                                        issued a new
        Data
                     search/request process                                      DUNS number
        Universal
                     3. Select your country or territory                         check online at
 1      Number                                           1-2 Business Days
                     and follow the instructions to                              (http://
        System
                     obtain your DUNS 9-digit #                                  fedgov.dnb.com/
        (DUNS)
                     4. Request appropriate staff                                webform) or
                     member(s) to obtain DUNS                                    call 1-866-705-
                     number, verify & update                                     5711
                     information under DUNS number
        System for   1. Retrieve organizations DUNS
        Award        number
                                                                                For SAM
        Management
                     2. Go                                                      Customer Service
        (SAM)                                           3-5 Business Days but
                     to https://www.sam.gov/SAM/ and                            Contact https://fs
 2      formerly                                        up to 2 weeks and must
                     designate an E-Biz POC (note                               d.gov/ fsd-gov/
        Central                                         be renewed once a year
                     CCR username will not work in                              home.do Calls: 86
        Contractor
                     SAM and you will need to have                              6-606-8220
        Registration
                     an active SAM account before you
        (CCR)
                     can register on grants.gov)
                     1. Set up an individual account in
                     Grants.gov using organization new
                     DUNS number to become an
                     authorized                         Same day but can take 8
                     organization representative        weeks to be fully       Register early!
                     (AOR)                              registered and approved Log into
                                                        in the system (note,    grants.gov and
                     2. Once the account is set up the
 3      Grants.gov                                      applicants MUST         check AOR status
                     E-BIZ POC will be notified via
                                                        obtain a DUNS number until it shows you
                     email
                                                        and SAM account         have been
                     3. Log into grants.gov using the
                                                        before applying on      approved
                     password the E-BIZ POC received
                                                        grants.gov)
                     and create new password
                     4. This authorizes the AOR to
                     submit applications on behalf of
                     the organization
 2. Request Application Package
 Applicants may access the application package at www.grants.gov.



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  3. Application Package
 Applicants must download the SF-424, Application for Federal Assistance, package associated
 with this notice of funding opportunity at www.grants.gov.
  4. Submission Dates and Times
 If the application is not submitted by the deadline published in the NOFO, it will not be
 processed. Office of Grants Services (OGS) personnel will notify the applicant that their
 application did not meet the deadline. The applicant must receive pre-approval to submit a paper
 application (see Other Submission Requirements section for additional details). If the applicant is
 authorized to submit a paper application, it must be received by the deadline provided by OGS.
 a. Letter of Intent Deadline (must be emailed or postmarked by)
 Due Date for Letter Of Intent 03/26/2021
 03/26/2021
 b. Application Deadline
 05/03/2021
 11:59 pm U.S. Eastern Standard Time, at www.grants.gov. If Grants.gov is inoperable and
 cannot receive applications, and circumstances preclude advance notification of an extension,
 then applications must be submitted by the first business day on which grants.gov operations
 resume.
 Due Date for Information Conference Call
 CDC will host two informational conference calls for potential applicants:

 Date: 03/30/2021

 Times: 3:00pm to 4:00pm Eastern Standard Time
 and
 6:00pm to 7:00pm Eastern Standard Time

 Meeting Details:
 Join ZoomGov Meeting
 https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

 Meeting ID: 160 4097 6381
 Passcode: OT21-2103
 One tap mobile
 +16692545252,,16040976381#,,,,,,0#,,708148093# US (San Jose)
 +16468287666,,16040976381#,,,,,,0#,,708148093# US (New York)

 Dial by your location
      +1 669 254 5252 US (San Jose)
      +1 646 828 7666 US (New York)
      +1 669 216 1590 US (San Jose)
      +1 551 285 1373 US
 Meeting ID: 160 4097 6381

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 Passcode: 708148093
 Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

 Join by SIP
 16040976381@sip.zoomgov.com

 Join by H.323
 161.199.138.10 (US West)
 161.199.136.10 (US East)
 Meeting ID: 160 4097 6381
 Passcode: 708148093
  5. CDC Assurances and Certifications
 All applicants are required to sign and submit “Assurances and Certifications” documents
 indicated at http://wwwn.cdc.gov/ grantassurances/ (S(mj444mxct51lnrv1hljjjmaa))
 /Homepage.aspx.
 Applicants may follow either of the following processes:
       Complete the applicable assurances and certifications with each application submission,
        name the file “Assurances and Certifications” and upload it as a PDF file with
        at www.grants.gov
       Complete the applicable assurances and certifications and submit them directly to CDC
        on an annual basis at http://wwwn.cdc.gov/ grantassurances/
        (S(mj444mxct51lnrv1hljjjmaa))/ Homepage.aspx
 Assurances and certifications submitted directly to CDC will be kept on file for one year and will
 apply to all applications submitted to CDC by the applicant within one year of the submission
 date.

 Risk Assessment Questionnaire Requirement
 CDC is required to conduct pre-award risk assessments to determine the risk an applicant poses
 to meeting federal programmatic and administrative requirements by taking into account issues
 such as financial instability, insufficient management systems, non-compliance with award
 conditions, the charging of unallowable costs, and inexperience. The risk assessment will include
 an evaluation of the applicant’s CDC Risk Questionnaire, located
 at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, as well as a
 review of the applicant’s history in all available systems; including OMB-designated repositories
 of government-wide eligibility and financial integrity systems (see 45 CFR 75.205(a)), and other
 sources of historical information. These systems include, but are not limited to: FAPIIS
 (https://www.fapiis.gov/), including past performance on federal contracts as per Duncan Hunter
 National Defense Authorization Act of 2009; Do Not Pay list; and System for Award
 Management (SAM) exclusions.

 CDC requires all applicants to complete the Risk Questionnaire, OMB Control Number 0920-
 1132 annually. This questionnaire, which is located
 at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, along with

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 supporting documentation must be submitted with your application by the closing date of the
 Notice of Funding Opportunity Announcement. If your organization has completed CDC’s Risk
 Questionnaire within the past 12 months of the closing date of this NOFO, then you must submit
 a copy of that questionnaire, or submit a letter signed by the authorized organization
 representative to include the original submission date, organization’s EIN and DUNS.
 When uploading supporting documentation for the Risk Questionnaire into this application
 package, clearly label the documents for easy identification of the type of documentation. For
 example, a copy of Procurement policy submitted in response to the questionnaire may be
 labeled using the following format: Risk Questionnaire Supporting Documents _ Procurement
 Policy.

 Duplication of Efforts
 Applicants are responsible for reporting if this application will result in programmatic,
 budgetary, or commitment overlap with another application or award (i.e. grant, cooperative
 agreement, or contract) submitted to another funding source in the same fiscal
 year. Programmatic overlap occurs when (1) substantially the same project is proposed in more
 than one application or is submitted to two or more funding sources for review and funding
 consideration or (2) a specific objective and the project design for accomplishing the objective
 are the same or closely related in two or more applications or awards, regardless of the funding
 source. Budgetary overlap occurs when duplicate or equivalent budgetary items (e.g.,
 equipment, salaries) are requested in an application but already are provided by another
 source. Commitment overlap occurs when an individual’s time commitment exceeds 100
 percent, whether or not salary support is requested in the application. Overlap, whether
 programmatic, budgetary, or commitment of an individual’s effort greater than 100 percent, is
 not permitted. Any overlap will be resolved by the CDC with the applicant and the PD/PI prior
 to award.
 Report Submission: The applicant must upload the report in Grants.gov under “Other
 Attachment Forms.” The document should be labeled: "Report on Programmatic, Budgetary,
 and Commitment Overlap.”
 6. Content and Form of Application Submission
 Applicants are required to include all of the following documents with their application package
 at www.grants.gov.
  7. Letter of Intent
 Letters of Intent (LOI) are not required but are requested as part of the application for this
 NOFO. The purpose of an LOI is to allow CDC program staff to estimate the number of and plan
 for the review of submitted applications.

 Letters of Intent should be submitted via email to                   @cdc.gov no later than
 March 26, 2021.




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  8. Table of Contents
 (There is no page limit. The table of contents is not included in the project narrative page
 limit.): The applicant must provide, as a separate attachment, the “Table of Contents” for the
 entire submission package.
 Provide a detailed table of contents for the entire submission package that includes all of the
 documents in the application and headings in the "Project Narrative" section. Name the file
 "Table of Contents" and upload it as a PDF file under "Other Attachment Forms"
 at www.grants.gov.
  9. Project Abstract Summary
 A project abstract is included on the mandatory documents list and must be submitted
 at www.grants.gov. The project abstract must be a self-contained, brief summary of the proposed
 project including the purpose and outcomes. This summary must not include any proprietary or
 confidential information. Applicants must enter the summary in the "Project Abstract Summary"
 text box at www.grants.gov.
  10. Project Narrative
 (Unless specified in the "H. Other Information" section, maximum of 20 pages, single spaced, 12
 point font, 1-inch margins, number all pages. This includes the work plan. Content beyond the
 specified page number will not be reviewed.)
 Applicants must submit a Project Narrative with the application forms. Applicants must name
 this file “Project Narrative” and upload it at www.grants.gov. The Project Narrative must
 include all of the following headings (including subheadings): Background, Approach,
 Applicant Evaluation and Performance Measurement Plan, Organizational Capacity of
 Applicants to Implement the Approach, and Work Plan. The Project Narrative must be succinct,
 self-explanatory, and in the order outlined in this section. It must address outcomes and activities
 to be conducted over the entire period of performance as identified in the CDC Project
 Description section. Applicants should use the federal plain language guidelines and Clear
 Communication Index to respond to this Notice of Funding Opportunity. Note that recipients
 should also use these tools when creating public communication materials supported by this
 NOFO. Failure to follow the guidance and format may negatively impact scoring of the
 application.
 a. Background
 Applicants must provide a description of relevant background information that includes the
 context of the problem (See CDC Background).
  b. Approach
 i. Purpose
 Applicants must describe in 2-3 sentences specifically how their application will address the
 public health problem as described in the CDC Background section.

 ii. Outcomes



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 Applicants must clearly identify the outcomes they expect to achieve by the end of the project
 period, as identified in the logic model in the Approach section of the CDC Project Description.
 Outcomes are the results that the program intends to achieve and usually indicate the intended
 direction of change (e.g., increase, decrease).

 iii. Strategies and Activities
 Applicants must provide a clear and concise description of the strategies and activities they will
 use to achieve the period of performance outcomes. Applicants must select existing evidence-
 based strategies that meet their needs, or describe in the Applicant Evaluation and Performance
 Measurement Plan how these strategies will be evaluated over the course of the project period.
 See the Strategies and Activities section of the CDC Project Description.

 1. Collaborations
 Applicants must describe how they will collaborate with programs and organizations either
 internal or external to CDC. Applicants must address the Collaboration requirements as
 described in the CDC Project Description.
 2. Target Populations and Health Disparities
 Applicants must describe the specific target population(s) in their jurisdiction and explain how
 such a target will achieve the goals of the award and/or alleviate health disparities. The
 applicants must also address how they will include specific populations that can benefit from the
 program that is described in the Approach section. Applicants must address the Target
 Populations and Health Disparities requirements as described in the CDC Project Description.
 c. Applicant Evaluation and Performance Measurement Plan
 Applicants must provide an evaluation and performance measurement plan that demonstrates
 how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
 Measurement and Project Description sections of this NOFO. At a minimum, the plan must
 describe:
       How applicant will collect the performance measures, respond to the evaluation
        questions, and use evaluation findings for continuous program quality improvement. The
        Paperwork Reduction Act of 1995 (PRA): Applicants are advised that any activities
        involving information collections (e.g., surveys, questionnaires, applications, audits, data
        requests, reporting, recordkeeping and disclosure requirements) from 10 or more
        individuals or non-Federal entities, including State and local governmental agencies, and
        funded or sponsored by the Federal Government are subject to review and approval by
        the Office of Management and Budget. For further information about CDC’s
        requirements under PRA see http://www.hhs.gov/ ocio/policy/collection/.
       How key program partners will participate in the evaluation and performance
        measurement planning processes.
       Available data sources, feasibility of collecting appropriate evaluation and performance
        data, data management plan (DMP), and other relevant data information (e.g.,
        performance measures proposed by the applicant).

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 Where the applicant chooses to, or is expected to, take on specific evaluation studies, they should
 be directed to:
       Describe the type of evaluations (i.e., process, outcome, or both).
       Describe key evaluation questions to be addressed by these evaluations.
       Describe other information (e.g., measures, data sources).
 Recipients will be required to submit a more detailed Evaluation and Performance Measurement
 plan (including the DMP elements) within the first 6 months of award, as described in the
 Reporting Section of this NOFO.
 d. Organizational Capacity of Applicants to Implement the Approach
 Applicants must address the organizational capacity requirements as described in the CDC
 Project Description.
  11. Work Plan
 (Included in the Project Narrative’s page limit)
 Applicants must prepare a work plan consistent with the CDC Project Description Work Plan
 section. The work plan integrates and delineates more specifically how the recipient plans to
 carry out achieving the period of performance outcomes, strategies and activities, evaluation and
 performance measurement.
  12. Budget Narrative
 Applicants must submit an itemized budget narrative. When developing the budget narrative,
 applicants must consider whether the proposed budget is reasonable and consistent with the
 purpose, outcomes, and program strategy outlined in the project narrative. The budget must
 include:
       Salaries and wages
       Fringe benefits
       Consultant costs
       Equipment
       Supplies
       Travel
       Other categories
       Contractual costs
       Total Direct costs
       Total Indirect costs
 Indirect costs could include the cost of collecting, managing, sharing and preserving data.



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 Indirect costs on grants awarded to foreign organizations and foreign public entities and
 performed fully outside of the territorial limits of the U.S. may be paid to support the costs of
 compliance with federal requirements at a fixed rate of eight percent of MTDC exclusive of
 tuition and related fees, direct expenditures for equipment, and subawards in excess of
 $25,000. Negotiated indirect costs may be paid to the American University, Beirut, and the
 World Health Organization.
 If applicable and consistent with the cited statutory authority for this announcement, applicant
 entities may use funds for activities as they relate to the intent of this NOFO to meet national
 standards or seek health department accreditation through the Public Health Accreditation Board
 (see: http://www.phaboard.org). Applicant entities to whom this provision applies include state,
 local, territorial governments (including the District of Columbia, the Commonwealth of Puerto
 Rico, the Virgin Islands, the Commonwealth of the Northern Marianna Islands, American
 Samoa, Guam, the Federated States of Micronesia, the Republic of the Marshall Islands, and the
 Republic of Palau), or their bona fide agents, political subdivisions of states (in consultation with
 states), federally recognized or state-recognized American Indian or Alaska Native tribal
 governments, and American Indian or Alaska Native tribally designated organizations. Activities
 include those that enable a public health organization to deliver public health services such as
 activities that ensure a capable and qualified workforce, up-to-date information systems, and the
 capability to assess and respond to public health needs. Use of these funds must focus on
 achieving a minimum of one national standard that supports the intent of the NOFO. Proposed
 activities must be included in the budget narrative and must indicate which standards will be
 addressed.
 Vital records data, including births and deaths, are used to inform public health program and
 policy decisions. If applicable and consistent with the cited statutory authority for this NOFO,
 applicant entities are encouraged to collaborate with and support their jurisdiction’s vital records
 office (VRO) to improve vital records data timeliness, quality and access, and to advance public
 health goals. Recipients may, for example, use funds to support efforts to build VRO capacity
 through partnerships; provide technical and/or financial assistance to improve vital records
 timeliness, quality or access; or support vital records improvement efforts, as approved by CDC.
 Applicants must name this file “Budget Narrative” and upload it as a PDF file
 at www.grants.gov. If requesting indirect costs in the budget, a copy of the indirect cost-rate
 agreement is required. If the indirect costs are requested, include a copy of the current negotiated
 federal indirect cost rate agreement or a cost allocation plan approval letter for those Recipients
 under such a plan. Applicants must name this file “Indirect Cost Rate” and upload it
 at www.grants.gov.
  13. Funds Tracking
 Proper fiscal oversight is critical to maintaining public trust in the stewardship of federal funds.
 Effective October 1, 2013, a new HHS policy on subaccounts requires the CDC to set up
 payment subaccounts within the Payment Management System (PMS) for all new grant awards.
 Funds awarded in support of approved activities and drawdown instructions will be identified on
 the Notice of Award in a newly established PMS subaccount (P subaccount). Recipients will be
 required to draw down funds from award-specific accounts in the PMS. Ultimately, the
 subaccounts will provide recipients and CDC a more detailed and precise understanding of
 financial transactions. The successful applicant will be required to track funds by P-accounts/sub

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 accounts for each project/cooperative agreement awarded. Applicants are encouraged to
 demonstrate a record of fiscal responsibility and the ability to provide sufficient and effective
 oversight. Financial management systems must meet the requirements as described 45 CFR 75
 which include, but are not limited to, the following:
       Records that identify adequately the source and application of funds for federally-funded
        activities.
       Effective control over, and accountability for, all funds, property, and other assets.
       Comparison of expenditures with budget amounts for each Federal award.
       Written procedures to implement payment requirements.
       Written procedures for determining cost allowability.
       Written procedures for financial reporting and monitoring.
  14. Pilot Program for Enhancement of Employee Whistleblower Protections
 Pilot Program for Enhancement of Employee Whistleblower Protections: All applicants will be
 subject to a term and condition that applies the terms of 48 Code of Federal Regulations
 (CFR) section 3.908 to the award and requires that recipients inform their employees in writing
 (in the predominant native language of the workforce) of employee whistleblower rights and
 protections under 41 U.S.C. 4712.
  15. Copyright Interests Provisions
 This provision is intended to ensure that the public has access to the results and accomplishments
 of public health activities funded by CDC. Pursuant to applicable grant regulations and CDC’s
 Public Access Policy, Recipient agrees to submit into the National Institutes of Health (NIH)
 Manuscript Submission (NIHMS) system an electronic version of the final, peer-reviewed
 manuscript of any such work developed under this award upon acceptance for publication, to be
 made publicly available no later than 12 months after the official date of publication. Also at the
 time of submission, Recipient and/or the Recipient’s submitting author must specify the date the
 final manuscript will be publicly accessible through PubMed Central (PMC). Recipient and/or
 Recipient’s submitting author must also post the manuscript through PMC within twelve (12)
 months of the publisher's official date of final publication; however the author is strongly
 encouraged to make the subject manuscript available as soon as possible. The recipient must
 obtain prior approval from the CDC for any exception to this provision.


 The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
 publication, and includes all modifications from the publishing peer review process, and all
 graphics and supplemental material associated with the article. Recipient and its submitting
 authors working under this award are responsible for ensuring that any publishing or copyright
 agreements concerning submitted articles reserve adequate right to fully comply with this
 provision and the license reserved by CDC. The manuscript will be hosted in both PMC and the
 CDC Stacks institutional repository system. In progress reports for this award, recipient must
 identify publications subject to the CDC Public Access Policy by using the applicable NIHMS


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 identification number for up to three (3) months after the publication date and the PubMed
 Central identification number (PMCID) thereafter.
 16. Funding Restrictions
 Restrictions that must be considered while planning the programs and writing the budget are:
       Recipients may not use funds for research.
       Recipients may not use funds for clinical care except as allowed by law.
       Recipients may use funds only for reasonable program purposes, including personnel,
        travel, supplies, and services.
       Generally, recipients may not use funds to purchase furniture or equipment. Any such
        proposed spending must be clearly identified in the budget.
       Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
        written approval to the recipient.
       Other than for normal and recognized executive-legislative relationships, no funds may
        be used for:
            o publicity or propaganda purposes, for the preparation, distribution, or use of any
              material designed to support or defeat the enactment of legislation before any
              legislative body
            o the salary or expenses of any grant or contract recipient, or agent acting for such
              recipient, related to any activity designed to influence the enactment of
              legislation, appropriations, regulation, administrative action, or Executive order
              proposed or pending before any legislative body
       See Additional Requirement (AR) 12 for detailed guidance on this prohibition
        and additional guidance on lobbying for CDC recipients.
       The direct and primary recipient in a cooperative agreement program must perform a
        substantial role in carrying out project outcomes and not merely serve as a conduit for an
        award to another party or provider who is ineligible.
 Coronavirus Disease 2019 (COVID-19) Funds:

       A recipient of a grant or cooperative agreement awarded by the Department of Health and
        Human Services (HHS) with funds made available under the Coronavirus Preparedness
        and Response Supplemental Appropriations Act, 2020 (P.L. 116-123); the Coronavirus
        Aid, Relief, and Economic Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the
        Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139); and/or
        H.R. 133 - Consolidated Appropriations Act, 2021, Division M – Coronavirus Response
        and Relief Supplemental Appropriations Act, 2021, agrees, as applicable to the award, to:
        1) comply with existing and/or future directives and guidance from the Secretary
        regarding control of the spread of COVID-19; 2) in consultation and coordination with
        HHS, provide, commensurate with the condition of the individual, COVID-19 patient
        care regardless of the individual’s home jurisdiction and/or appropriate public health

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        measures (e.g., social distancing, home isolation); and 3) assist the United States
        Government in the implementation and enforcement of federal orders related to
        quarantine and isolation.
       In addition, to the extent applicable, Recipient will comply with Section 18115 of the
        CARES Act, with respect to the reporting to the HHS Secretary of results of tests
        intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
        reporting shall be in accordance with guidance and direction from HHS and/or
        CDC. HHS laboratory reporting guidance is posted
        at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-
        guidance.pdf.
       Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
        the purpose of this award, and the underlying funding, the recipient is expected to provide
        to CDC copies of and/or access to COVID-19 data collected and evaluations conducted
        with these funds, including but not limited to data related to COVID-19 testing. CDC will
        specify in further guidance and directives what is encompassed by this requirement.
       To achieve the public health objectives of ensuring the health, safety, and welfare of all
        Americans, Recipient must distribute or administer vaccine without discriminating on
        non-public-health grounds within a prioritized group.


  18. Data Management Plan
 As identified in the Evaluation and Performance Measurement section, applications involving
 data collection or generation must include a Data Management Plan (DMP) as part of their
 evaluation and performance measurement plan unless CDC has stated that CDC will take on the
 responsibility of creating the DMP. The DMP describes plans for assurance of the quality of the
 public health data through the data's lifecycle and plans to deposit the data in a repository to
 preserve and to make the data accessible in a timely manner. See web link for additional
 information:
 https://www.cdc.gov/grants/additionalrequirements/ar-25.html
 18. Other Submission Requirements
 a. Electronic Submission:
 Applications must be submitted electronically by using the forms and instructions posted for this
 notice of funding opportunity at www.grants.gov. Applicants can complete the application
 package using Workspace, which allows forms to be filled out online or offline. All application
 attachments must be submitted using a PDF file format. Instructions and training for using
 Workspace can be found at www.grants.gov under the "Workspace Overview" option.

 b. Tracking Number: Applications submitted through www.grants.gov are time/date stamped
 electronically and assigned a tracking number. The applicant’s Authorized Organization
 Representative (AOR) will be sent an e-mail notice of receipt when www.grants.gov receives the
 application. The tracking number documents that the application has been submitted and initiates
 the required electronic validation process before the application is made available to CDC.

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 c. Validation Process: Application submission is not concluded until the validation process is
 completed successfully. After the application package is submitted, the applicant will receive a
 “submission receipt” e-mail generated by www.grants.gov. A second e-mail message to
 applicants will then be generated by www.grants.gov that will either validate or reject the
 submitted application package. This validation process may take as long as two business days.
 Applicants are strongly encouraged to check the status of their application to ensure that
 submission of their package has been completed and no submission errors have occurred.
 Applicants also are strongly encouraged to allocate ample time for filing to guarantee that their
 application can be submitted and validated by the deadline published in the NOFO. Non-
 validated applications will not be accepted after the published application deadline date.
 If you do not receive a “validation” e-mail within two business days of application submission,
 please contact www.grants.gov. For instructions on how to track your application, refer to the e-
 mail message generated at the time of application submission or the Grants.gov Online User
 Guide.
 https:// www.grants.gov/help/html/help/index.htm? callingApp=custom#t=
 Get_Started%2FGet_Started. htm
 d. Technical Difficulties: If technical difficulties are encountered at www.grants.gov, applicants
 should contact Customer Service at www.grants.gov. The www.grants.gov Contact Center is
 available 24 hours a day, 7 days a week, except federal holidays. The Contact Center is available
 by phone at 1-800-518-4726 or by e-mail at support@grants.gov. Application submissions sent
 by e-mail or fax, or on CDs or thumb drives will not be accepted. Please note that
 www.grants.gov is managed by HHS.
 e. Paper Submission: If technical difficulties are encountered at www.grants.gov, applicants
 should call the www.grants.gov Contact Center at 1-800-518-4726 or e-mail them
 at support@grants.gov for assistance. After consulting with the Contact Center, if the technical
 difficulties remain unresolved and electronic submission is not possible, applicants may e-mail
 CDC GMO/GMS, before the deadline, and request permission to submit a paper application.
 Such requests are handled on a case-by-case basis.
 An applicant’s request for permission to submit a paper application must:
    1. Include the www.grants.gov case number assigned to the inquiry
    2. Describe the difficulties that prevent electronic submission and the efforts taken with
       the www.grants.gov Contact Center to submit electronically; and
    3. Be received via e-mail to the GMS/GMO listed below at least three calendar days before
       the application deadline. Paper applications submitted without prior approval will not be
       considered.

        If a paper application is authorized, OGS will advise the applicant of specific instructions
        for submitting the application (e.g., original and two hard copies of the application by
        U.S. mail or express delivery service).
 E. Review and Selection Process



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 1. Review and Selection Process: Applications will be reviewed in three phases
 a. Phase 1 Review
 All applications will be initially reviewed for eligibility and completeness by CDC Office of
 Grants Services. Complete applications will be reviewed for responsiveness by the Grants
 Management Officials and Program Officials. Non-responsive applications will not advance to
 Phase II review. Applicants will be notified that their applications did not meet eligibility and/or
 published submission requirements.


 b. Phase II Review
 A review panel will evaluate complete, eligible applications in accordance with the criteria
 below.

 i. Approach
 ii. Evaluation and Performance Measurement
 iii. Applicant’s Organizational Capacity to Implement the Approach

 Not more than thirty days after the Phase II review is completed, applicants will be notified
 electronically if their application does not meet eligibility or published submission requirements
 i. Approach                                                                    Maximum Points: 0
 ii. Evaluation and Performance Measurement                                     Maximum Points: 0
 iii. Applicant's Organizational Capacity to Implement the
                                                                                Maximum Points: 0
 Approach
 Budget                                                                         Maximum Points: 0
 i. Approach                                                                    Maximum Points: 0
 ii. Evaluation and Performance Measurement                                     Maximum Points: 0
 iii. Applicant's Organizational Capacity to Implement the
                                                                                Maximum Points: 0
 Approach
 Budget                                                                         Maximum Points: 0

 c. Phase III Review
 This is a noncompetitive NOFO. Applications will be reviewed for technical merit without
 scoring.
 Review of risk posed by applicants.
 Prior to making a Federal award, CDC is required by 31 U.S.C. 3321 and 41 U.S.C. 2313 to
 review information available through any OMB-designated repositories of government-wide
 eligibility qualification or financial integrity information as appropriate. See also suspension and
 debarment requirements at 2 CFR parts 180 and 376.
 In accordance 41 U.S.C. 2313, CDC is required to review the non-public segment of the OMB-
 designated integrity and performance system accessible through SAM (currently the
 Federal Recipient Performance and Integrity Information System (FAPIIS)) prior to making a
 Federal award where the Federal share is expected to exceed the simplified acquisition threshold,

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 defined in 41 U.S.C. 134, over the period of performance. At a minimum, the information in the
 system for a prior Federal award recipient must demonstrate a satisfactory record of executing
 programs or activities under Federal grants, cooperative agreements, or procurement awards; and
 integrity and business ethics. CDC may make a Federal award to a recipient who does not fully
 meet these standards, if it is determined that the information is not relevant to the current Federal
 award under consideration or there are specific conditions that can appropriately mitigate the
 effects of the non-Federal entity's risk in accordance with 45 CFR §75.207.
 CDC’s framework for evaluating the risks posed by an applicant may incorporate results of the
 evaluation of the applicant's eligibility or the quality of its application. If it is determined that a
 Federal award will be made, special conditions that correspond to the degree of risk assessed
 may be applied to the Federal award. The evaluation criteria is described in this Notice of
 Funding Opportunity.
 In evaluating risks posed by applicants, CDC will use a risk-based approach and may consider
 any items such as the following:
 (1) Financial stability;
 (2) Quality of management systems and ability to meet the management standards prescribed in
 this part;
 (3) History of performance. The applicant's record in managing Federal awards, if it is a prior
 recipient of Federal awards, including timeliness of compliance with applicable reporting
 requirements, conformance to the terms and conditions of previous Federal awards, and if
 applicable, the extent to which any previously awarded amounts will be expended prior to future
 awards;
 (4) Reports and findings from audits performed under subpart F 45 CFR 75 or the reports and
 findings of any other available audits; and
 (5) The applicant's ability to effectively implement statutory, regulatory, or other requirements
 imposed on non-Federal entities.
 CDC must comply with the guidelines on government-wide suspension and debarment in 2 CFR
 part 180, and require non-Federal entities to comply with these provisions. These provisions
 restrict Federal awards, subawards and contracts with certain parties that are debarred, suspended
 or otherwise excluded from or ineligible for participation in Federal programs or activities.
 2. Announcement and Anticipated Award Dates
 The anticipated posting date is March 17, 2021, on www.grants.gov. Applicants will have up to
 45 days, or May 3, 2021, to respond. Applicants are encouraged to apply early. The anticipated
 award date is approximately 30 calendar days after the end of the application period, or June 1,
 2021.
  F. Award Administration Information
  1. Award Notices
 Recipients will receive an electronic copy of the Notice of Award (NOA) from CDC OGS. The
 NOA shall be the only binding, authorizing document between the recipient and CDC. The
 NOA will be signed by an authorized GMO and emailed to the Recipient Business Officer listed
 in application and the Program Director.
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 Any applicant awarded funds in response to this Notice of Funding Opportunity will be subject
 to the DUNS, SAM Registration, and Federal Funding Accountability And Transparency Act Of
 2006 (FFATA) requirements.

 Unsuccessful applicants will receive notification of these results by e-mail with delivery receipt
 or by U.S. mail.
 2. Administrative and National Policy Requirements
 The following Administrative Requirements (AR) apply to this NOFO:
       AR-7: Executive Order 12372 Review
       AR-8: Public Health System Reporting Requirements
       AR-9: Paperwork Reduction Act Requirements
       AR-10: Smoke-Free Workplace Requirements
       AR-11: Healthy People 2030
       AR-12: Lobbying Restrictions
       AR-13: Prohibition on Use of CDC Funds for Certain Gun Control Activities
       AR-8: Public Health System Reporting Requirements
       AR-15: Proof of Non-profit Status
       AR-23: Compliance with 45 CFR Part 87
       AR-14: Accounting System Requirements
       AR-16: Security Clearance Requirement
       AR-21: Small, Minority, And Women-owned Business
       AR-24: Health Insurance Portability and Accountability Act Requirements
       AR-25: Data Management and Access
       AR-26: National Historic Preservation Act of 1966
       AR-29: Compliance with EO13513, “Federal Leadership on Reducing Text Messaging
        while Driving”, October 1, 2009
       AR-30: Information Letter 10-006, - Compliance with Section 508 of the Rehabilitation
        Act of 1973
       AR-32: Enacted General Provisions
       AR-34: Language Access for Persons with Limited English Proficiency
       AR-37: Prohibition on certain telecommunications and video surveillance services or
        equipment for all awards issued on or after August 13, 2020

 Recipients are also expected to adhere to administrative requirements relating to
 nondiscrimination contained in Standard Form 424B (Rev. 7-97): Assurances - Non-
 Construction Programs, prescribed by OMB Circular A-102.
 The full text of the Uniform Administrative Requirements, Cost Principles, and Audit
 Requirements for HHS Awards, 45 CFR 75, can be found at: https://www.ecfr.gov/cgi-bin/text-
 idx?node=pt45.1.75


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  3. Reporting
 Reporting provides continuous program monitoring and identifies successes and challenges
 that recipients encounter throughout the project period. Also, reporting is a requirement
 for recipients who want to apply for yearly continuation of funding. Reporting helps CDC and
 recipients because it:
       Helps target support to recipients;
       Provides CDC with periodic data to monitor recipient progress toward meeting the Notice
        of Funding Opportunity outcomes and overall performance;
       Allows CDC to track performance measures and evaluation findings for continuous
        quality and program improvement throughout the period of performance and to determine
        applicability of evidence-based approaches to different populations, settings, and
        contexts; and
       Enables CDC to assess the overall effectiveness and influence of the NOFO.
 The table below summarizes required and optional reports. All required reports must be sent
 electronically to GMS listed in the “Agency Contacts” section of the NOFO copying the CDC
 Project Officer.


   Report Type                When?                                                    Required?
   Expenditure Reporting      Quarterly expenditure reports are due 60 days into       Yes
                              the award and at the end of each fiscal quarter
                              thereafter through the period of performance.

   Payment Management         Quarterly reports are due 60 days into the award and     Yes
   System (PMS)               at the end of each fiscal quarter thereafter through
   Reporting                  the period of performance.

   Progress Reporting         Quarterly progress reports are due 6o days into the      Yes
                              award and at the end of each fiscal quarter thereafter
                              through the period of performance.

   Federal Financial          Due 90 days after the end of the budget period           Yes
   Reporting
   Forms

   Final Performance and      Due 90 days after end of period of performance           Yes
   Financial Report



   There may be flexibility in reporting deadlines. CDC will communicate updates or revisions
   to reporting requirements as appropriate.

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   Quarterly expenditure and progress reports will be submitted via the Research Electronic
   Data Capture, or otherwise known as REDCap. CDC will provide training and technical
   assistance for recipients on REDCap post-award.

 a. Recipient Evaluation and Performance Measurement Plan (required)
 With support from CDC, recipients must elaborate on their initial applicant evaluation and
 performance measurement plan. This plan must be no more than 20 pages; recipients must
 submit the plan 6 months into the award. HHS/CDC will review and approve the recipient’s
 monitoring and evaluation plan to ensure that it is appropriate for the activities to be undertaken
 as part of the agreement, for compliance with the monitoring and evaluation guidance established
 by HHS/CDC, or other guidance otherwise applicable to this Agreement.

 Recipient Evaluation and Performance Measurement Plan (required): This plan should provide
 additional detail on the following:

 Performance Measurement

 • Performance measures and targets
 • The frequency that performance data are to be collected.
 • How performance data will be reported.
 • How quality of performance data will be assured.
 • How performance measurement will yield findings to demonstrate progress towards
 achieving NOFO goals (e.g., reaching target populations or achieving expected outcomes).
 • Dissemination channels and audiences.
 • Other information requested as determined by the CDC program.

 Evaluation

 • The types of evaluations to be conducted (e.g. process or outcome evaluations).
 • The frequency that evaluations will be conducted.
 • How evaluation reports will be published on a publically available website.
 • How evaluation findings will be used to ensure continuous quality and program improvement.
 • How evaluation will yield findings to demonstrate the value of the NOFO (e.g., effect on
 improving public health outcomes, effectiveness of NOFO, cost-effectiveness or cost-benefit).
 • Dissemination channels and audiences.

 HHS/CDC or its designee will also undertake monitoring and evaluation of the defined activities
 within the agreement. The recipient must ensure reasonable access by HHS/CDC or its designee
 to all necessary sites, documentation, individuals and information to monitor, evaluate and verify
 the appropriate implementation the activities and use of HHS/CDC funding under this
 Agreement.
 b. Annual Performance Report (APR) (required)


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 The recipient must submit the APR via www.Grantsolutions.gov no later than 120 days prior to
 the end of the budget period. This report must not exceed 45 pages excluding administrative
 reporting. Attachments are not allowed, but web links are allowed.
 This report must include the following:
       Performance Measures: Recipients must report on performance measures for each
        budget period and update measures, if needed.
       Evaluation Results: Recipients must report evaluation results for the work completed to
        date (including findings from process or outcome evaluations).
       Work Plan: Recipients must update work plan each budget period to reflect any changes
        in period of performance outcomes, activities, timeline, etc.
       Successes
            o Recipients must report progress on completing activities and progress towards
              achieving the period of performance outcomes described in the logic model and
              work plan.
            o Recipients must describe any additional successes (e.g. identified through
              evaluation results or lessons learned) achieved in the past year.
            o Recipients must describe success stories.
       Challenges
            o Recipients must describe any challenges that hindered or might hinder their
              ability to complete the work plan activities and achieve the period of performance
              outcomes.
            o Recipients must describe any additional challenges (e.g., identified through
              evaluation results or lessons learned) encountered in the past year.
       CDC Program Support to Recipients
            o Recipients must describe how CDC could help them overcome challenges to
              complete activities in the work plan and achieving period of performance
              outcomes.
       Administrative Reporting (No page limit)
            o SF-424A Budget Information-Non-Construction Programs.
            o Budget Narrative – Must use the format outlined in "Content and Form of
              Application Submission, Budget Narrative" section.
            o Indirect Cost Rate Agreement.
 The recipients must submit the Annual Performance Report via www.Grantsolutions.gov no
 later than 120 days prior to the end of the budget period.
 c. Performance Measure Reporting (optional)


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 CDC programs may require more frequent reporting of performance measures than annually in
 the APR. If this is the case, CDC programs must specify reporting frequency, data fields, and
 format for recipients at the beginning of the award period.
 d. Federal Financial Reporting (FFR) (required)
 The annual FFR form (SF-425) is required and must be submitted 90 days after the end of the
 budget period through the Payment Management System (PMS). The report must include only
 those funds authorized and disbursed during the timeframe covered by the report. The final FFR
 must indicate the exact balance of unobligated funds, and may not reflect any unliquidated
 obligations. There must be no discrepancies between the final FFR expenditure data and the
 Payment Management System’s (PMS) cash transaction data. Failure to submit the required
 information by the due date may adversely affect the future funding of the project. If the
 information cannot be provided by the due date, recipients are required to submit a letter of
 explanation to OGS and include the date by which the Grants Officer will receive information.
 e. Final Performance and Financial Report (required)
 The Final Performance Report is due 90 days after the end of the period of performance. The
 Final FFR is due 90 days after the end of the period of performance and must be submitted
 through the Payment Management System (PMS). CDC programs must indicate that this report
 should not exceed 40 pages. This report covers the entire period of performance and can include
 information previously reported in APRs. At a minimum, this report must include the following:
       Performance Measures – Recipients must report final performance data for all process
        and outcome performance measures.
       Evaluation Results – Recipients must report final evaluation results for the period of
        performance for any evaluations conducted.
       Impact/Results/Success Stories – Recipients must use their performance measure results
        and their evaluation findings to describe the effects or results of the work completed over
        the project period, and can include some success stories.
       A final Data Management Plan that includes the location of the data collected during the
        funded period, for example, repository name and link data set(s)
       Additional forms as described in the Notice of Award (e.g., Equipment Inventory Report,
        Final Invention Statement).
 4. Federal Funding Accountability and Transparency Act of 2006 (FFATA)
 Federal Funding Accountability and Transparency Act of 2006 (FFATA), P.L. 109–282, as
 amended by section 6202 of P.L. 110–252 requires full disclosure of all entities and
 organizations receiving Federal funds including awards, contracts, loans, other assistance, and
 payments through a single publicly accessible Web site, http://www.USASpending.gov.
 Compliance with this law is primarily the responsibility of the Federal agency. However, two
 elements of the law require information to be collected and reported by applicants: 1)
 information on executive compensation when not already reported through the SAM, and 2)
 similar information on all sub-awards/subcontracts/consortiums over $25,000.
 For the full text of the requirements under the FFATA and HHS guidelines, go to:


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       https://www.gpo.gov/fdsys/pkg/PLAW-109publ282/pdf/PLAW-109publ282.pdf,
       https://www. fsrs.gov/documents /ffata_legislation_ 110_252.pdf
       http://www.hhs.gov/grants/grants/grants-policies-regulations/index.html#FFATA.
 5. Reporting of Foreign Taxes (International/Foreign projects only)
 A. Valued Added Tax (VAT) and Customs Duties – Customs and import duties, consular fees,
 customs surtax, valued added taxes, and other related charges are hereby authorized as an
 allowable cost for costs incurred for non-host governmental entities operating where no
 applicable tax exemption exists. This waiver does not apply to countries where a bilateral
 agreement (or similar legal document) is already in place providing applicable tax exemptions
 and it is not applicable to Ministries of Health. Successful applicants will receive information on
 VAT requirements via their Notice of Award.

 B. The U.S. Department of State requires that agencies collect and report information on the
 amount of taxes assessed, reimbursed and not reimbursed by a foreign government against
 commodities financed with funds appropriated by the U.S. Department of State, Foreign
 Operations and Related Programs Appropriations Act (SFOAA) (“United States foreign
 assistance funds”). Outlined below are the specifics of this requirement:

 1) Annual Report: The recipient must submit a report on or before November 16 for each foreign
 country on the amount of foreign taxes charged, as of September 30 of the same year, by a
 foreign government on commodity purchase transactions valued at 500 USD or more financed
 with United States foreign assistance funds under this grant during the prior United States fiscal
 year (October 1 – September 30), and the amount reimbursed and unreimbursed by the foreign
 government. [Reports are required even if the recipient did not pay any taxes during the reporting
 period.]

 2) Quarterly Report: The recipient must quarterly submit a report on the amount of foreign taxes
 charged by a foreign government on commodity purchase transactions valued at 500 USD or
 more financed with United States foreign assistance funds under this grant. This report shall be
 submitted no later than two weeks following the end of each quarter: April 15, July 15, October
 15 and January 15.

 3) Terms: For purposes of this clause:
 “Commodity” means any material, article, supplies, goods, or equipment;
 “Foreign government” includes any foreign government entity;
 “Foreign taxes” means value-added taxes and custom duties assessed by a foreign government
 on a commodity. It does not include foreign sales taxes.

 4) Where: Submit the reports to the Director and Deputy Director of the CDC office in the
 country(ies) in which you are carrying out the activities associated with this cooperative
 agreement. In countries where there is no CDC office, send reports to VATreporting@cdc.gov.

 5) Contents of Reports: The reports must contain:


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 a. recipient name;
 b. contact name with phone, fax, and e-mail;
 c. agreement number(s) if reporting by agreement(s);
 d. reporting period;
 e. amount of foreign taxes assessed by each foreign government;
 f. amount of any foreign taxes reimbursed by each foreign government;
 g. amount of foreign taxes unreimbursed by each foreign government.

 6) Subagreements. The recipient must include this reporting requirement in all applicable
 subgrants and other subagreements.


 6. Termination
 CDC may impose other enforcement actions in accordance with 45 CFR 75.371- Remedies for
 Noncompliance, as appropriate.
 The Federal award may be terminated in whole or in part as follows:
 (1) By the HHS awarding agency or pass-through entity, if the non-Federal entity fails to comply
 with the terms and conditions of the award;
 (2) By the HHS awarding agency or pass-through entity for cause;
 (3) By the HHS awarding agency or pass-through entity with the consent of the non-Federal
 entity, in which case the two parties must agree upon the termination conditions, including the
 effective date and, in the case of partial termination, the portion to be terminated; or
 (4) By the non-Federal entity upon sending to the HHS awarding agency or pass-through entity
 written notification setting forth the reasons for such termination, the effective date, and, in the
 case of partial termination, the portion to be terminated. However, if the HHS awarding agency
 or pass-through entity determines in the case of partial termination that the reduced or modified
 portion of the Federal award or subaward will not accomplish the purposes for which the Federal
 award was made, the HHS awarding agency or pass-through entity may terminate the Federal
 award in its entirety.
 G. Agency Contacts
 CDC encourages inquiries concerning this notice of funding opportunity.
 Program Office Contact
 For programmatic technical assistance, contact:
 First Name:

 Last Name:


 Department of Health and Human Services
 Centers for Disease Control and Prevention
 Address:

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       Budget Narrative
       CDC Assurances and Certifications
       Report on Programmatic, Budgetary and Commitment Overlap
       Table of Contents for Entire Submission
 For international NOFOs:
       SF424
       SF424A
       Funding Preference Deliverables
 Optional attachments, as determined by CDC programs:
 References

 [1]                                                                              , et
 al. Engaging With Communities — Lessons (Re)Learned From COVID-19. Prev Chronic Dis
 2020;17:200250. https://www.cdc.gov/pcd/issues/2020/20_0250.htm

 2] US Centers for Disease Control and Prevention. COVID-19 cases, data, and surveillance:
 hospitalization and death by race/ethnicity. Accessed October 12, 2020.
 https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-discovery/hospitalization-
 death-by-race-ethnicity.html

 [3]                                                     COVID-19 racial disparities in testing,
 infection, hospitalization, and death: analysis of Epic data. Published September 16, 2020.
 Accessed October 12, 2020. https://www.kff.org/coronavirus-covid-19/issue-brief/covid-19-
 racial-disparities-testing-infection-hospitalization-death-analysis-epic-patient-data/

 [4]                                     . The association of social determinants of health with
 COVID-19
 mortality in rural and urban counties. Journal of Rural Health. 2021;1-9.
 https://doi.org/10.1111/jrh.12557


 I. Glossary
 Activities: The actual events or actions that take place as a part of the program.
 Administrative and National Policy Requirements, Additional Requirements
 (ARs): Administrative requirements found in 45 CFR Part 75 and other requirements mandated
 by statute or CDC policy. All ARs are listed in the Template for CDC programs. CDC programs
 must indicate which ARs are relevant to the NOFO; recipients must comply with the ARs listed
 in the NOFO. To view brief descriptions of relevant provisions, see http:// www.cdc.gov/ grants/
 additional requirements/ index.html. Note that 2 CFR 200 supersedes the administrative
 requirements (A-110 & A-102), cost principles (A-21, A-87 & A-122) and audit requirements
 (A-50, A-89 & A-133).

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 Approved but Unfunded: Approved but unfunded refers to applications recommended for
 approval during the objective review process; however, they were not recommended for funding
 by the program office and/or the grants management office.
 Assistance Listings: A government-wide compendium published by the General Services
 Administration (available on-line in searchable format as well as in printable format as a .pdf
 file) that describes domestic assistance programs administered by the Federal Government.
 Assistance Listings Number: A unique number assigned to each program and NOFO
 throughout its lifecycle that enables data and funding tracking and transparency
 Award: Financial assistance that provides support or stimulation to accomplish a public purpose.
 Awards include grants and other agreements (e.g., cooperative agreements) in the form of
 money, or property in lieu of money, by the federal government to an eligible applicant.
 Budget Period or Budget Year: The duration of each individual funding period within the
 project period. Traditionally, budget periods are 12 months or 1 year.
 Carryover: Unobligated federal funds remaining at the end of any budget period that, with the
 approval of the GMO or under an automatic authority, may be carried over to another budget
 period to cover allowable costs of that budget period either as an offset or additional
 authorization. Obligated but liquidated funds are not considered carryover.
 CDC Assurances and Certifications: Standard government-wide grant application forms.
 Competing Continuation Award: A financial assistance mechanism that adds funds to a grant
 and adds one or more budget periods to the previously established period of performance (i.e.,
 extends the “life” of the award).
 Continuous Quality Improvement: A system that seeks to improve the provision of services
 with an emphasis on future results.
 Contracts: An award instrument used to acquire (by purchase, lease, or barter) property or
 services for the direct benefit or use of the Federal Government.
 Cooperative Agreement: A financial assistance award with the same kind of interagency
 relationship as a grant except that it provides for substantial involvement by the federal agency
 funding the award. Substantial involvement means that the recipient can expect federal
 programmatic collaboration or participation in carrying out the effort under the award.
 Cost Sharing or Matching: Refers to program costs not borne by the Federal Government but
 by the recipients. It may include the value of allowable third-party, in-kind contributions, as well
 as expenditures by the recipient.
 Direct Assistance: A financial assistance mechanism, which must be specifically authorized by
 statute, whereby goods or services are provided to recipients in lieu of cash. DA generally
 involves the assignment of federal personnel or the provision of equipment or supplies, such as
 vaccines. DA is primarily used to support payroll and travel expenses of CDC employees
 assigned to state, tribal, local, and territorial (STLT) health agencies that are recipients of grants
 and cooperative agreements. Most legislative authorities that provide financial assistance to
 STLT health agencies allow for the use of DA. http:// www.cdc.gov /grants
 /additionalrequirements /index.html.

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 DUNS: The Dun and Bradstreet (D&B) Data Universal Numbering System (DUNS) number is a
 nine-digit number assigned by Dun and Bradstreet Information Services. When applying for
 Federal awards or cooperative agreements, all applicant organizations must obtain a DUNS
 number as the Universal Identifier. DUNS number assignment is free. If requested by telephone,
 a DUNS number will be provided immediately at no charge. If requested via the Internet,
 obtaining a DUNS number may take one to two days at no charge. If an organization does not
 know its DUNS number or needs to register for one, visit Dun & Bradstreet
 at http://fedgov.dnb.com/ webform/displayHomePage.do.
 Evaluation (program evaluation): The systematic collection of information about the activities,
 characteristics, and outcomes of programs (which may include interventions, policies, and
 specific projects) to make judgments about that program, improve program effectiveness, and/or
 inform decisions about future program development.
 Evaluation Plan: A written document describing the overall approach that will be used to guide
 an evaluation, including why the evaluation is being conducted, how the findings will likely be
 used, and the design and data collection sources and methods. The plan specifies what will be
 done, how it will be done, who will do it, and when it will be done. The NOFO evaluation plan is
 used to describe how the recipient and/or CDC will determine whether activities are
 implemented appropriately and outcomes are achieved.
 Federal Funding Accountability and Transparency Act of 2006 (FFATA): Requires that
 information about federal awards, including awards, contracts, loans, and other assistance and
 payments, be available to the public on a single website at www.USAspending.gov.
 Fiscal Year: The year for which budget dollars are allocated annually. The federal fiscal year
 starts October 1 and ends September 30.
 Grant: A legal instrument used by the federal government to transfer anything of value to a
 recipient for public support or stimulation authorized by statute. Financial assistance may be
 money or property. The definition does not include a federal procurement subject to the Federal
 Acquisition Regulation; technical assistance (which provides services instead of money); or
 assistance in the form of revenue sharing, loans, loan guarantees, interest subsidies, insurance, or
 direct payments of any kind to a person or persons. The main difference between a grant and a
 cooperative agreement is that in a grant there is no anticipated substantial programmatic
 involvement by the federal government under the award.
 Grants.gov: A "storefront" web portal for electronic data collection (forms and reports) for
 federal grant-making agencies at www.grants.gov.
 Grants Management Officer (GMO): The individual designated to serve as the HHS official
 responsible for the business management aspects of a particular grant(s) or cooperative
 agreement(s). The GMO serves as the counterpart to the business officer of the recipient
 organization. In this capacity, the GMO is responsible for all business management matters
 associated with the review, negotiation, award, and administration of grants and interprets grants
 administration policies and provisions. The GMO works closely with the program or project
 officer who is responsible for the scientific, technical, and programmatic aspects of the grant.
 Grants Management Specialist (GMS): A federal staff member who oversees the business and
 other non-programmatic aspects of one or more grants and/or cooperative agreements. These

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 activities include, but are not limited to, evaluating grant applications for administrative content
 and compliance with regulations and guidelines, negotiating grants, providing consultation and
 technical assistance to recipients, post-award administration and closing out grants.
 Health Disparities: Differences in health outcomes and their determinants among segments of
 the population as defined by social, demographic, environmental, or geographic category.
 Health Equity: Striving for the highest possible standard of health for all people and giving
 special attention to the needs of those at greatest risk of poor health, based on social conditions.
 Health Inequities: Systematic, unfair, and avoidable differences in health outcomes and their
 determinants between segments of the population, such as by socioeconomic status (SES),
 demographics, or geography.
 Healthy People 2030: National health objectives aimed at improving the health of all Americans
 by encouraging collaboration across sectors, guiding people toward making informed health
 decisions, and measuring the effects of prevention activities.
 Inclusion: Both the meaningful involvement of a community’s members in all stages of the
 program process and the maximum involvement of the target population that the intervention
 will benefit. Inclusion ensures that the views, perspectives, and needs of affected communities,
 care providers, and key partners are considered.
 Indirect Costs: Costs that are incurred for common or joint objectives and not readily and
 specifically identifiable with a particular sponsored project, program, or activity; nevertheless,
 these costs are necessary to the operations of the organization. For example, the costs of
 operating and maintaining facilities, depreciation, and administrative salaries generally are
 considered indirect costs.
 Intergovernmental Review: Executive Order 12372 governs applications subject to
 Intergovernmental Review of Federal Programs. This order sets up a system for state and local
 governmental review of proposed federal assistance applications. Contact the state single point
 of contact (SPOC) to alert the SPOC to prospective applications and to receive instructions on
 the State’s process. Visit the following web address to get the current SPOC list:
 https://www.whitehouse.gov/wp-content/uploads/2017/11/Intergovernmental_-Review-
 _SPOC_01_2018_OFFM.pdf.
 Letter of Intent (LOI): A preliminary, non-binding indication of an organization’s intent to
 submit an application.
 Lobbying: Direct lobbying includes any attempt to influence legislation, appropriations,
 regulations, administrative actions, executive orders (legislation or other orders), or other similar
 deliberations at any level of government through communication that directly expresses a view
 on proposed or pending legislation or other orders, and which is directed to staff members or
 other employees of a legislative body, government officials, or employees who participate in
 formulating legislation or other orders. Grass roots lobbying includes efforts directed at inducing
 or encouraging members of the public to contact their elected representatives at the federal, state,
 or local levels to urge support of, or opposition to, proposed or pending legislative proposals.
 Logic Model: A visual representation showing the sequence of related events connecting the
 activities of a program with the programs’ desired outcomes and results.

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 Maintenance of Effort: A requirement contained in authorizing legislation, or applicable
 regulations that a recipient must agree to contribute and maintain a specified level of financial
 effort from its own resources or other non-government sources to be eligible to receive federal
 grant funds. This requirement is typically given in terms of meeting a previous base-year dollar
 amount.
 Memorandum of Understanding (MOU) or Memorandum of Agreement
 (MOA): Document that describes a bilateral or multilateral agreement between parties
 expressing a convergence of will between the parties, indicating an intended common line of
 action. It is often used in cases where the parties either do not imply a legal commitment or
 cannot create a legally enforceable agreement.
 Nonprofit Organization: Any corporation, trust, association, cooperative, or other organization
 that is operated primarily for scientific, educational, service, charitable, or similar purposes in the
 public interest; is not organized for profit; and uses net proceeds to maintain, improve, or expand
 the operations of the organization. Nonprofit organizations include institutions of higher
 educations, hospitals, and tribal organizations (that is, Indian entities other than federally
 recognized Indian tribal governments).
 Notice of Award (NoA): The official document, signed (or the electronic equivalent of
 signature) by a Grants Management Officer that: (1) notifies the recipient of the award of a grant;
 (2) contains or references all the terms and conditions of the grant and Federal funding limits and
 obligations; and (3) provides the documentary basis for recording the obligation of Federal funds
 in the HHS accounting system.
 Objective Review: A process that involves the thorough and consistent examination of
 applications based on an unbiased evaluation of scientific or technical merit or other relevant
 aspects of the proposal. The review is intended to provide advice to the persons responsible for
 making award decisions.
 Outcome: The results of program operations or activities; the effects triggered by the program.
 For example, increased knowledge, changed attitudes or beliefs, reduced tobacco use, reduced
 morbidity and mortality.
 Performance Measurement: The ongoing monitoring and reporting of program
 accomplishments, particularly progress toward pre-established goals, typically conducted by
 program or agency management. Performance measurement may address the type or level of
 program activities conducted (process), the direct products and services delivered by a program
 (outputs), or the results of those products and services (outcomes). A “program” may be any
 activity, project, function, or policy that has an identifiable purpose or set of objectives.
 Period of performance –formerly known as the project period - : The time during which the
 recipient may incur obligations to carry out the work authorized under the Federal award. The
 start and end dates of the period of performance must be included in the Federal award.
 Period of Performance Outcome: An outcome that will occur by the end of the NOFO's
 funding period
 Plain Writing Act of 2010: The Plain Writing Act of 2010 requires that federal agencies use
 clear communication that the public can understand and use. NOFOs must be written in clear,


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 consistent language so that any reader can understand expectations and intended outcomes of the
 funded program. CDC programs should use NOFO plain writing tips when writing NOFOs.
 Program Strategies: Strategies are groupings of related activities, usually expressed as general
 headers (e.g., Partnerships, Assessment, Policy) or as brief statements (e.g., Form partnerships,
 Conduct assessments, Formulate policies).
 Program Official: Person responsible for developing the NOFO; can be either a project officer,
 program manager, branch chief, division leader, policy official, center leader, or similar staff
 member.
 Public Health Accreditation Board (PHAB): A nonprofit organization that works to promote
 and protect the health of the public by advancing the quality and performance of public health
 departments in the U.S. through national public health department
 accreditation http://www.phaboard.org.
 Social Determinants of Health: Conditions in the environments in which people are born, live,
 learn, work, play, worship, and age that affect a wide range of health, functioning, and quality-
 of-life outcomes and risks.
 Statute: An act of the legislature; a particular law enacted and established by the will of the
 legislative department of government, expressed with the requisite formalities. In foreign or civil
 law any particular municipal law or usage, though resting for its authority on judicial decisions,
 or the practice of nations.
 Statutory Authority: Authority provided by legal statute that establishes a federal financial
 assistance program or award.
 System for Award Management (SAM): The primary vendor database for the U.S. federal
 government. SAM validates applicant information and electronically shares secure and encrypted
 data with federal agencies' finance offices to facilitate paperless payments through Electronic
 Funds Transfer (EFT). SAM stores organizational information, allowing www.grants.gov to
 verify identity and pre-fill organizational information on grant applications.
 Technical Assistance: Advice, assistance, or training pertaining to program development,
 implementation, maintenance, or evaluation that is provided by the funding agency.
 Work Plan: The summary of period of performance outcomes, strategies and activities,
 personnel and/or partners who will complete the activities, and the timeline for completion. The
 work plan will outline the details of all necessary activities that will be supported through the
 approved budget.
 NOFO-specific Glossary and Acronyms
 Health equity (2) is achieved when every person has the opportunity to “attain his or her full
 health potential” and no one is “disadvantaged from achieving this potential because of social
 position or other socially determined circumstances.”

 Underserved communities refers to populations sharing a particular characteristic, as well as
 geographic communities, that have been systematically denied a full opportunity to participate in
 aspects of economic, social, and civic life. Populations can include but are not limited to: African
 American, Latino, and Indigenous and Native American persons, Asian Americans and Pacific

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 Islanders and other persons of color; members of religious minorities; lesbian, gay, bisexual,
 transgender, and queer (LGBTQ+) persons; persons with disabilities; persons who live in rural
 communities; and persons otherwise adversely impacted by persistent poverty or
 inequality (Definition modified from the Executive Order On Advancing Racial Equity and
 Support for Underserved Communities Through the Federal Government, January 20, 2021).




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                       EXHIBIT C
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                             AWARD ATTACHMENTS
CITY & COUNTY OF SAN FRANCISCO
1. terms and conditions
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 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate this award which is funded by COVID-19
 supplemental appropriations. The termination of this award is for cause. HHS regulations permit
 termination if “the non-Federal entity fails to comply with the terms and conditions of the award”, or
 separately, “for cause.” The end of the pandemic provides cause to terminate COVID-related grants and
 cooperative agreements. These grants and cooperative agreements were issued for a limited purpose: to
 ameliorate the effects of the pandemic. Now that the pandemic is over, the grants and cooperative
 agreements are no longer necessary as their limited purpose has run out. Termination of this award is
 effective as of the date set out in your Notice of Award.

 No additional activities can be conducted, and no additional costs may be incurred. Unobligated award
 balances will be de-obligated by CDC.

 Closeout: In order to facilitate an orderly closeout, we are requesting that you submit all closeout
 reports identified below within thirty (30) days of the date of this NoA. Submit the documentation as a
 “Grant Closeout” amendment in GrantSolutions. The reporting timeframe is the full period of
 performance. Please note, if you fail to submit timely and accurate reports, CDC may also pursue other
 enforcement actions per 45 CFR Part 75.371.

 Final Performance/Progress Report: This report should include the information specified in the Notice
 of Funding Opportunity (NOFO). At a minimum, the report will include the following:

         • Statement of progress made toward the achievement of originally stated aims.
         • Description of results (positive or negative) considered significant.
         • List of publications resulting from the project, with plans, if any, for further publication.

 Final Federal Financial Report (FFR, SF-425): The FFR should only include those funds authorized and
 expended during the timeframe covered by the report. The final report must indicate the exact balance
 of unobligated funds and may not reflect any unliquidated obligations. Should the amount not match
 with the final expenditures reported to the Payment Management System (PMS), you will be required to
 update your reports to PMS accordingly.

 Equipment and Supplies - Tangible Personal Property Report (SF-428): A completed SF-428 detailing all
 major equipment acquired with a unit acquisition cost of $10,000 or more. If no equipment was
 acquired under the award, a negative report is required
